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                 Exhibit 3
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                                                                                                                                             US007023979B1


(12) United States Patent                                                                                   (10) Patent No.:                               US 7,023,979 B1
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        H04M 5/00                   (2006.01)                                                                    5,073,890 A                  12/1991 Danielsen et al.
(52) U.S. Cl. ............................. 379/265.11: 379/266.01
(58) Field of Classification Search ........... 379/265.02,                                                                 (Continued)
                   379/265.06, 265.12, 266.01, 309, 265.11                                          Primary Examiner Benny Tieu
     See application file for complete search history.                                              (74) Attorney, Agent, or Firm—Milde & Hoffberg LLP
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       4,286,118         8, 1981 Mehaffey et al.                                                    A communications management system comprising an input
       4,677,663         6, 1987 Szlam                                                              for receiving a communications classification; a database of
       4,737,983         4, 1988 Frauenthal et al.                                                  skill weights with respect to the communications classifica
       4,757,529         T. 1988 Glapa et al.                                                       tion; a database of agent skill scores; and a processor, for
       4,768,221         8, 1988 Green et al.                                                       computing, with respect to the received communication
       4,797,911         1, 1989 Szlam et al.                                                       classification, an optimum agent selection, the processor
       4,807,279         2, 1989 McClure et al.                                                     directly controlling a routing of the information representing
       4,852, 149        7, 1989 Zwick et al.                                                       the received call.
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       4,893,301         1, 1990 Andrews et al.                                                                                          20 Claims, 2 Drawing Sheets
                                                       call is placed to a call center




                                                          caller record
                                                                    303
                                                                        retrieved              :
                                                            ...----T-
                                                                 - -
                                                       cal characteristics identified
                                                                   304
                                                                         F
                                                           retrieve agent profiles
                                                                    305


                                                          - is is                                       use ski-based routing
                                                     seat center near capacitys—Yes                               37
                                                            -306---
                                                                     My
                                                      ---------------
                                                       use training and skill based                optimize cost-utility function over
                                                                routing 311                                 short term 308
                                                                     ---...-                                        ...--
                                                      optimize cost-utility function for                     select agent
                                                      long term call center operation                             309
                                                                    32
                                                     ---------                                                     y
                                                     —----                   --                           route call to agent
                                                                select agent                                      31
                                                                    313
                                                                     -       —             -
                                                      route call to agent with training
                                                           agent available 314
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  an



        Call is placed to a call center
  L          -                    so
                  -Y -
                      caller identified
                                  3O2
                                 - V---...--            ---


           caller record retrieved
                     303
             ------               - Y-
        cal characteristics identified
                     304
                            --




                 -------            y

            retrieve agent profiles
                                  305


                  -
                        u           IS

  scal Center or      ---         3 O6    u-
                                                              a       ---
                                                                               USe skillips routing
                                 st
                                  No
  -- - -                                                          ------                 V
         use training and skill based                              optimize cost-utility function over
                           routing 311                                            Short term 308
                  ---                               -----            - --- --             |-
                                    V                                    ---             V

       optimize cost-utility function for                                           select agent
       long term call center operation                                                  309
                                  312
        --                                                          --                   V
            -- -- - -               V                                            route call to agent
                        Select agent                                                    31 O
                                  313
                    ---                     -           --



             --                     v

       route call to agent with training
            agent available 314



                                                          Fig. 1
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     outbound call is cued by an
      Outbound Cal Center 401
                    y
            callee identified
                  402
                    y
        Callee record retrieved
                  403
                    V
    call characteristics predicted
                  404
  ---------------------
        retrieve agent profiles                        / expected incremental
                  405                                           cost of agent
                                         M                          415
                   y                                   \
     use training and skill based
             routing 411                                    expected incremental
                                                               utility of agent
                   y            8                                   416
   optimize cost-utility function for
   long term call center operation K--
                  412
                                                            expected incremental
                   V                                           COst of trainer
             select agent                                           4.17
                  413
     -v                                                / expected incremental
   route call to agent (with training                          training utility
   agent available if a training Call)                 y            418
                  414                                   \                    -




                                         Fig. 2
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                               1.                                                              2
      TELEPHONY CONTROL SYSTEM WITH                                 Windows 2000, without impairing the real-time perfor
         INTELLIGENT CALL ROUTING                                   mance of the system as a whole, since the communications
                                                                    control functions are not as time critical as the Voice
                RELATED APPLICATIONS                            processing functions. However, as is well known, non
                                                                deterministic operating systems, such as Windows 2000, are
  The present application claims benefit of priority from       Subject to significant latencies, especially when multiple
U.S. Provisional Patent Application No. 60/363,027, filed tasks are executing, and when contention exists between
Mar. 7, 2002, the entirety of which is expressly incorporated resources, especially hard disk access and virtual memory.
herein by reference.                                            Therefore, in order to assure that System operation is unim
                                                             10 peded by inconsistent demands on the platform, typically the
                    TECHNICAL FIELD                             host computer system for the telephony peripherals is “dedi
                                                                cated, and attempts are made to eliminate extraneous
  The present invention relates generally to computer inte Software tasks. On the other hand, externalizing essential
grated telecommunications systems and more particularly to functions imposes potential latencies due to communica
a system and method employing an intelligent Switching 15 tions and external processing.
architecture.
                                                                    The Call Center
         BACKGROUND OF THE INVENTION                                      A “call center is an organization of people, telecommu
                                                                       nications equipment and management software, with a mis
   The description of the invention herein is intended to sion of efficiently handling electronic customer contact. A
provide information for one skilled in the art to understand typical call center must balance competing goals. Customers
and practice the full scope of the invention, but is not should experience high quality and consistent service as
intended to be limiting as to the scope of available knowl measured, for example, by how long the customers call
edge, nor admit that any particular reference, nor the com must wait in queue before being answered and receiving
binations and analysis of this information as presented 25 satisfactory service. At the same time, this service should be
herein, is itself a part of the prior art. It is, in fact, a part of provided to make efficient use of call center resources.
the present invention to aggregate the below cited informa Strategies for Call Center Management
tion as a part of the disclosure, without limiting the scope              “Workforce management’ systems provide important
thereof. All of the below-identified references are therefore          tools for meeting the goals of the call center. These systems
expressly incorporated herein by reference, as if the entirety 30 generate       forecasts of call Volumes and call handling times
thereof was recited completely herein. It is particularly noted based on historical data, to predict how much staff will be
that the present invention is not limited by a narrow or needed at different times of the day and week. The systems
precise discussion herein, nor is it intended that any dis then create schedules that match the staffing to anticipated
claimer, limitation, or mandatory language as applied to any needs.
embodiment or embodiments be considered to limit the 35
scope of the invention as a whole. The scope of the invention is Typically,          an Automatic Call Distribution (ACD) function
                                                                          provided in conjunction with a computerized Private
is therefore to be construed as the entire literal scope of the Branch Exchange (PBX). This ACD function enables a
claims, as well as any equivalents thereof as provided by group of agents, termed ACD agents, to handle a high
law. It is also understood that the title, abstract, field of the      Volume of inbound calls and simultaneously allows a queued
invention, and dependent claims are not intended to, and do 40 caller to listen to recordings when waiting for an available
not, limit the scope of the independent claims.                        ACD agent. The ACD function typically informs inbound
   Real-time communications are typically handled by dedi callers of their status while they wait and the ACD function
cated systems which assure that the management and control routes callers to an appropriate ACD agent on a first-come
operations are handled in a manner to keep up with the first-served basis.
communications process, and to avoid imposing inordinate 45 Today, all full-featured PBXs provide the ACD function
delays. In order to provide cost-effective performance, com and there are even vendors who provide switches specifi
plex processes incidental to the management or control of cally designed to support the ACD function. The ACD
the communication are typically externalized. Thus, the function has been expanded to provide statistical reporting
communications process is generally unburdened from tasks tools, in addition to the call queuing and call routing
requiring a high degree of intelligence, for example the 50 functions mentioned above, which statistical reporting tools
evaluation of complex algorithms and real time optimiza are used to manage the call center. For example, ACD
tions. One possible exception is least cost routing (LCR), historical             reports enable a manager to identify times: (a)
which seeks to employ a communications channel which is when inbound callers abandon calls after long waits in a
anticipated to have a lowest cost per unit. In fact, LCR queue because, for example, the call center is staffed by too
schemes, when implemented in conjunction with a commu 55
nications Switch, either employ simple predetermined rules, few        In
                                                                            ACD agents and (b) when many ACD agents are idle.
                                                                          addition, ACD forecasting reports, based on the historical
or externalize the analysis.
   Modern computer telephone integrated systems typically reports,              allow the manager to determine appropriate staffing
employ a general purpose computer with dedicated Voice levels for specific weeks and months in the future.
communication hardware peripherals, for example boards 60 Queue Management
made by Dialogic, Inc. (Intel Corp.). The voice communi                   ACD systems experience high traffic periods and low
cation peripherals execute the low level processing and traffic periods. Consequently, ACD Systems must be capable
Switching of the Voice channels, under control from the of automating two major decisions. The first major decision
general purpose processor. Therefore, the Voice-information may be referred to as the "agent selection decision, i.e.,
is generally not communicated on the computer bus.                  65 when more than one agent is available to handle the next
   This architecture typically allows the computing platform transaction, which agent should be chosen? The second
to run a modern, non-deterministic operating system, such as major decision may be referred to as the “transaction selec
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tion decision, i.e., when more than one transaction is               needs, and therefore be used to optimally schedule agents for
waiting for the next available agent and an agent becomes            greatest efficiency, lowest cost, or other optimized variable.
available, which transaction should the agent handle?                   In the case of multi-skill criteria, the optimality of selec
   One approach to the agent selection decision is to set up         tion may be based on a global minimization of the cost
a sequencing scheme, so that the Switch of the ACD System function or the like.
follows the same sequence of agents until the first available        The longest-idle-agent approach and the FIFO approach
agent in the sequence is found. The concern with this function well in applications having little variation in the
approach is that it creates "hot seats, i.e. an inequitable types of transactions being handled by the ACD agents. If all
distribution of inbound calls to ACD agents who are high in agents can handle any transaction, these approaches provide
the sequence. Most current ACD Systems solve the agent 10 a Sufficiently high level of transactional throughput, i.e., the
selection decision by using a longest-idle-eligible-agent number of transactions handled by the call center in a
approach to provide a more equitable distribution of trans particular time interval. However, in many call center envi
actions.                                                          ronments, the agents are not equally adept at performing all
   There are also different approaches to the transaction types of transactions. For example, Some transactions of a
selection decision in which there are more available trans 15 particular call center may require knowledge of a language
actions than there are ACD agents. One approach is to create other than the native language of the country in which the
one or more first-in, first-out (FIFO) queues. Under this call center is located. As another example, some transactions
approach, each transaction may be marked with a priority may require the expertise of “specialists' having training in
level by the switch of the ACD system. When an agent the specific field to which the transaction relates, since
becomes available, the transaction with the highest priority training all agents to be knowledgeable in all areas would be
is routed to the agent. If several calls of equal priority are cost-prohibitive. For ACD applications in which agents are
waiting in a queue, the call which has been waiting the not equally adept at performing all transactions, there are a
longest is routed to the available agent. If the call center number of problems which at least potentially reduce trans
conducts outbound transactions, each transaction is similarly actional throughput of the call center. Three such problems
submitted to a FIFO queue with a priority designation, with 25 may be referred to as the “under-skilled agent problem, the
the Switch routing transactions from the queue to the agents. “over-skilled agent problem, and the “static grouping
Queue/Team Management                                             problem.
                                                                     The under-skilled agent problem reduces transactional
   Calls that arrive at a call center generally are classified throughput
into “call types' based on the dialed number and possibly 30 agents who when      do
                                                                                         the switch routes transactions to ACD
                                                                                       not  have sufficient skills to handle the
other information Such as calling number or caller responses transactions. For example,
to prompts from the network. The call center is typically English-only speaking person,a even         call may be routed to an
served by an automatic call distributor (ACD), which iden speaks Spanish. In another example,though                   the caller only
tifies the call type of each incoming call and either delivers relate to product support of a particular item for whichmay
                                                                                                               the  transaction
                                                                                                                                  the
or queues it. Each call type may have a separate first-in 35 agent is not trained. When this occurs, the agent will
first-out queue in the ACD. In most existing call centers, the typically apologize to the customer and transfer the call to
agents answering calls are organized into one or more another agent who is capable of helping the customer.
“teams, with each team having primary responsibility of
the calls in one or more queues. This paradigm is sometimes Consequently,
                                                                  efficiently
                                                                                    neither the agent's nor the customer's time is
                                                                               utilized.
referred to as “queue/team.”                                         Inefficient utilization is also a concern related to the
   In the queue?team model, Scheduling for each team can be 40 over-skilled
done independently. Suppose, for example, that the call groupings ofagent         agents,
                                                                                         problem. A call center may have fixed
                                                                                           with each group having highly trained
center handles calls for sales, service, and billing, and that individuals and less-experienced
each of these call types is served by a separate team. The ment may also designate certainindividuals.                 Call-manage
schedule for sales agents will depend on the forecast for 45 since it would be cost prohibitive to train all 'specialists.”
                                                                                                           agents   as
                                                                                                                        agents to be
sales call volume and on various constraints and preferences experts in all transactions. Ideally, the highly skilled          agents
applicable to the agents being scheduled, but this schedule handle only those transactions that require a greater-than
is not affected by the call volume forecast for service or average skill level. However, if a significant time passes
billing. Further, within the sales team, agents are typically without       transactions that require highly skilled agents, the
considered interchangeable from a call handling viewpoint. 50 agents may         be assigned to calls for which they are over
Thus, within a team, schedule start times, break times and
the like, may be traded freely among agents in the team to is no qualifiedplaces
                                                                  qualified. This
                                                                                      agent
                                                                                            the system in a position in which there
                                                                                              for an incoming call requiring a
satisfy agent preferences without affecting scheduled call
coverage. See, U.S. Pat. No. 5.325,292, expressly incorpo particular          expertise because the agents having the expertise
                                                                  are handling calls that do not require Such expertise. Again,
rated herein by reference.                                     55 the transactional throughput of the call center is reduced.
   In a queue?team environment, when a new call arrived,
the ACD determines the call type and places it in the queue, ingCurrent       ACD Systems allow agents to be grouped accord
if all agents are busy, or allocates this call to the team may be divided For
                                                                       to training.
                                                                                      into
                                                                                          example, a product Support call center
                                                                                            four fixed, i.e., “static.” groups, with
member who had been available the longest.                        each group being trained in a different category of products
Skill-Based Routing                                            60 sold by the company. There are a number of potentially
   Skill-based routing of agents is a well known principle, in negative effects of static grouping. Firstly, the call center
which the agent with the best match of skills to the problem management must devise Some configuration of agents into
presented is selected for handling the matter. Typically, these groups. This may be a costly process requiring extensive
matters involve handling of telephone calls in a call center, analysis and data entry. Secondly, the configuration that is
and the technology may be applied to both inbound and 65 devised is not likely to be optimal in all situations. The pace
outbound calling, or a combination of each. The skill-based and mix of transactions will change during a typical day. At
routing algorithms may also be used to anticipate call center different times, the adverse effects of the under-skilled agent
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problem and the adverse effects of the over-skilled agent available for calls of that type, or might be available part of
problem will vary with respect to the transactional through the time and handling other call types for another part of
put of the call center. Thirdly, when a new product is time.
released, the devised configuration likely will be less valu         All agents having a particular combination of skills may
able. In response to changes in the size, pace and mix of the 5 be deemed a “skill group.” A central problem of skills-based
transaction load over the course of time, call management scheduling is then finding a way to predict what fraction of
must monitor and adjust the performance of the current scheduled agents from each skill group will be available to
grouping configuration on an ongoing basis. When trends each call type during each time interval being scheduled. If
are detected, the grouping configuration should be changed. these fractions are known, then the effect of different agent
This requires the time and attention of call center managers 10 schedules can be generated. Unfortunately, it is difficult or
and Supervisors. Again, the transactional throughput is impossible to calculate the skill group availability fractions
reduced.                                                          directly. These functions depend on the relative and absolute
   It is thus known in the prior art to provide ACD systems call volumes in each call type, on the particulars of the
that depart from the queue/team model described above. 15 the     skills-based call distribution algorithms in the ACD, and on
                                                                       skills profiles of the total scheduled agent population.
Calls are still categorized into call types. In place of queues Particularly
for the call types, however, queues associated with “skills' selves evolveas and    ACD skills-based routing algorithms them
are provided. The ACD's call distribution logic for the call affecting skill groupbecome          more sophisticated, the factors
                                                                                           availability become too complex for
type determines which queue or queues a call will occupy at direct analysis. One proposed solution           provides a feedback
various times before it is answered. Agents are not organized mechanism involving call handling simulation             and incre
into teams with exclusive responsibility for specific queues.
Instead, each agent has one or more identified "skills'           mental    scheduling,   to  schedule  agents  in a skills-based
corresponding to the skills-based queues. Thus, both a given routing         environment. See, U.S. Pat. No. 6,044.355,
call and a given agent may be connected to multiple queues expressly incorporated herein in its entirety.
at the same time. Agent skills designations may be further 25 a In      accordance with this “skills-based scheduling method,
                                                                     computer implemented tool is used to determine an
qualified, for example, as “primary or “secondary skills, or
with some other designation of skill priority or degree of optimum schedule for a plurality of scheduled agents in a
skill attainment. The ACD. call distribution logic may take telephone
                                                                  agents
                                                                               call center, each of the plurality of scheduled
                                                                          having   a combination of defined skills. The plurality
the skill priority levels into account in its call distribution of scheduled agents       are organized into 'skill groups' with
logic.                                                         30 each group including all scheduled agents having a particu
   In a skills-based routing environment, the “matching” of
calls to agents by the ACD becomes more sophisticated and lar     a
                                                                      combination of skills. The method begins by generating
                                                                    plurality  of net staffing arrays, each net staff array asso
thus complicated. Agents who have more than one skill no ciated with a given call type and defining, for each time
longer “belong to a well-defined team that handles a interval to be scheduled, an estimate of a difference between
restricted set of calls. Instead, the skills definitions form
“implicit teams that overlap in complex ways. If, for acurrent      given staffing level and a staffing level needed to meet a
                                                                            call handling requirement. In addition to the net
example, a call center has 10 skills defined, then agents staffing arrays, the method uses a plurality of skills group
could in principle have any of 1024 possible combinations availability arrays, each skills group availability array asso
(2') of those skills. Each skill combination could be eligible ciated with the given call type and defining, for each
to handle a different subset of the incoming calls, and the 40 combination of skill group and time interval to be scheduled,
eligible subset might vary with time of day, number of calls an estimate of a percentage of Scheduled agents from each
in queue, or other factors used by the ACD in its call routing skill group that are available to handle a call. According to
decisions.
                                                                  the method, the plurality of arrays are used to generate a
   Today, call center managers want to connect a call to an proposed schedule for each of the plurality of scheduled
ACD agent having exactly the right skills to serve the caller. 45 agents. Thereafter, a call handling simulation is then run
However, “skills based ACD agent groups are often small against the proposed schedule using a plurality of ACD call
and, as a result, whenever an inbound call arrives, all Such      distribution algorithms (one for each call type being sched
"skills based ACD agents may be busy. In such instances, uled). Based on the results of the call handling simulation,
the ACD function can take call back instructions from the         the net stafling arrays and the skills availability arrays are
caller and the ACD function can manage the call back so refined to more accurately define the net staffing and skills
functions, for example, by assigning Such calls, in accor usage requirements. The process of generating a schedule
dance with the caller instructions, to a "skills based ACD        and then testing that schedule through the simulator is then
agent whenever one becomes available.                             repeated until a given event occurs. The given event may be
   Scheduling of agents in a skills-based environment is thus a determination that the schedule meets some given accep
a much more difficult problem than it is in a queue?team 55 tance criteria, a passage of a predetermined period of time,
environment. In a skills-based environment, call types can a predetermined number of iterations of the process, or some
not be considered in isolation. Thus, for example, a heavy combination thereof. A proposed schedule is “optimized'
Volume of Services calls might place higher demands on when it provides an acceptable call handling performance
multi-skilled agents, causing an unforeseen shortage of level and an acceptable staffing level in the simulation. Once
coverage for Billing calls. Further, agents with different 60 the proposed schedule is “optimized,” it may be further
skills cannot be considered interchangeable for call han adjusted (within a particular skill group) to accommodate
dling. Thus, trading lunch times between a Sales-only agent agent preferences.
and a multi-skill agent might lead to over-staffing Sales at         U.S. Pat. No. 5,206,903 to Kohler et al. describes ACD
noon while under-staffing Service at 1:00 p.m. This would equipment which uses static grouping. Each static group of
lead to undesirable results. Moreover, with respect to the 65 agents is referred to as a 'split,” and each split is associated
needs of a particular call type, a multi-skilled agent might with a different queue. The agents are assigned to splits
provide no help over a given span of time, might be 100% according to skills. Within a single split, the agents may be
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limited to knowledge of different subtypes of transactions.      6,493,696   Message   forwarding  of multiple types of mes
Preferably, there is at least one agent in each split who is       sages based upon a criteria
trained to handle calls of any of the subtypes within the 6,493,432 System for ensuring calling party privacy in a call
particular split. This “expert” may also be trained to effi        screening system
ciently handle calls of other types, i.e., other splits. Each 6,487,533 Unified messaging system with automatic lan
agent possesses up to four skill numbers that represent            guage identification for text-to-speech conversion
various abilities of the agent with respect to handling 5.477,494 Unified messaging system with Voice messaging
transactions related to Subtypes and types of transactions.        and text messaging using text-to-speech conversion
The ACD equipment assigns each incoming call three pri 6,477,245 Method for the management of a telephone auto
oritized skill numbers that estimate skill requirements of the 10 matic branch exchange, external management device and
incoming call. The skill numbers of the incoming call are          corresponding automatic branch exchange
considered “prioritized, since they are viewed sequentially 6,470.077 Apparatus and method for storage and accelerated
in searching for a match of the call with an agent, so that the    playback of Voice samples in a call center
second skill number of the call is unnecessary if a match is 6,466.909 Shared text-to-speech resource
found using the first prioritized skill number. The incoming 15 6,466,654 Personal virtual assistant with semantic tagging
call is assigned the one, two or three prioritized skill 6.463,299 Method and apparatus providing an integral com
numbers and is placed in the appropriate queue of the              puter and telephone system
appropriate static group of agents. A search is made among 6,459,784 Method for the definition of a call forward
the available agents for an agent-skill number that matches        operation within a telecommunications system
the first skill number of the call. If no match is found after   6.453,038 System for integrating agent database access
a predetermined time delay, the second prioritized skill           skills in call center agent assignment applications
number of the call is used to find a match. If no match is       2003/0002646 Intelligent Phone Router
found after a second predetermined time delay, the third
prioritized skill number is considered. Then, if no match is Group Routing
still found, the ACD equipment of Kohler et al. expands the 25 Various types of conventional automatic distributors
search of available agents to other groups of agents.            (ACDS) are available to distribute incoming calls to a group.
   While the Kohler et al. patent does not directly address the Reservation and information services may be provided by
problems associated with static groups, it does consider the large companies, such as major airlines, and may consist of
skills of the individual agents. The prioritized skill numbers geographically separated groups of agents that answer
assigned to the incoming calls are logically ordered. The 30 incoming calls distributed to the agents by separate ACDs.
patent refers to the first skill number of a call as the primary Agent communication terminals (ACTS) which are con
call-skill indicator. This primary indicator is used to define nected to an ACD are utilized by the agents to process
the minimal skill level that is required for an agent to incoming calls routed to a particular ACT by the ACD.
competently handle the call. Consequently, if a match is           A public branch exchange (PBX) type ACD such as a
made with the primary indicator, the ACD agent may not be 35 Definity(R) ACD available from AT&T functions as a con
over-skilled or under-skilled. However, if the search is            ventional PBX and further functions as an ACD to distribute
unsuccessful, the secondary call-skill indicator is utilized.       incoming calls to local agents connected to the PBX.
The search for a match to the secondary indicator may cause         Another type of ACD consists of the utilization of an
the call to be routed to an agent having more than the electronic telecommunication switch such as a 5ESS(R)
minimal required skill. The third prioritized skill number 40 switch available from AT&T which is capable of providing
that is assigned to the incoming call is referred to as the ACD service when supposed by ACTs coupled to the switch.
“tertiary” call-skill indicator. The tertiary indicator is yet Both types of ACD typically function as independent sys
another skill level beyond what is minimally required to tems which handle incoming calls and make internal deci
competently handle a call. Since the tertiary indicator is sions concerning which agent will receive a given call. Both
utilized only if a match is not found for either of the primary 45 types of ACD Systems are capable of generating statistical
or secondary indicators, an overly skilled agent of the reports which can be monitored by a workstation coupled to
appropriate group will handle the call only if that agent is the the ACD system to allow a supervisor to monitor call
only available capable agent. Thus, more highly skilled handling statistics. Such data typically represents an average
agents are assigned only when their skills are required, or no of statistics for a given system.
lesser-skilled agent is available to handle the call.           50    Telephone call centers that handle calls to toll-free “800'
   See,                                                            numbers are well-known in the art. Typically, a company
6,529,870 Identifying voice mail messages under speaker may have many call centers, all answering calls made to the
   identification                                                  same set of 800 numbers. Each of the company’s call centers
6,522,726 Speech-responsive Voice messaging system and 55 equipmentusually  has an automatic call distributor (ACD) or similar
   method                                                                        capable of queuing calls. ACD management
6,519,459 Use of immediate handover to achieve multi-head
                                                                   information    systems keep statistics on agent and call status,
   ZOS
                                                                   and can report these statistics on frequent intervals. Such
                                                                   capabilities are in use today for centralized reporting and
6,519,259 Methods and apparatus for improved transmis display of multi-location call center status.
   sion of voice information in packet-based communication 60 In Such systems, the company will want to distribute the
   systems                                                         calls to its call centers in a way that will optimally meet its
6.510,221 System for automatically routing calls to call business goals. Those goals might include low cost of call
   center agents in an agent Surplus condition based on delay handling, answering most calls within a given amount of
   probabilities                                                   time, providing customized handling for certain calls, and
5,496.568 Method and apparatus for providing automated 65 many others. It is also known in the prior art that certain call
   notification to a customer of a real-time notification          routing criteria and techniques Support a broad range of
   system                                                          business goals. These include “load balancing,” “caller
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segmentation' and “geographic routing. Load balancing                  that agent station, and then transfers the original call onto the
refers to distribution of calls so that the expected answer            second call to connect the incoming caller directly to the
delay for new calls is similar across all the call centers. If         agent station and then drops out of the connection.
other considerations do not dictate otherwise, load balancing             U.S. Pat. No. 5,193,110 issued to Jones et al discloses an
is desirable because it provides optimum efficiency in the          integrated services platform for a telephone communications
use of agents and facilities, and it provides the most con          system which platform includes a plurality of application
sistent grade of service to callers. In special situations it       processing ports for providing different types of information
might be desirable to unbalance the load in a particular way,       services to callers. In Jones etals disclosed system, a master
but control over the distribution of call load is still desired.    control unit and a high speed digital Switch are used to
    If the caller's identity can be inferred from the calling 10 control processing of incoming phone calls by recognizing
number, caller-entered digits, or other information, that the type of service requested by the caller and then routing
identity may influence the choice of destination for the call. the call to the appropriate processing port. The Jones et al
Call routing based on Such information is referred to as system is disclosed as an adjunct to current Switching
caller segmentation. Also, it has been found desirable for technology in public and private networks.
particular call centers to handle calls from particular geo 15 Intelligent Call Management
graphic areas. The motivation may be to minimize call                  Call centers are also used to make outbound calls, for
transport costs, to Support pre-defined call center “territo example             for telemarketing. Agents making outbound calls,
ries', or to take advantage of agents specifically trained to
handle calls from given locations. Such techniques are referred                 to as outbound agents, are typically separate from
                                                                    ACD agents handling inbound calls and call center software
known as geographic routing.                                        separately manages outbound call lists for outbound agents
   The interexchange carriers who provide 800 service today to          ensure that each outbound agent wastes little time in
generally Support Some form of “routing plan” to help dialing                 or in performing overhead operations.
achieve load balancing, caller segmentation and geographic
routing. Typically these routing plans allow 800 call routing incomingcenter
                                                                       A   call
                                                                                  calls
                                                                                         typically has multiple agents for answering
                                                                                        and  placing outgoing calls. A call center may
based on time of day, day of week, the caller's area code, also have agents participating
                                                                 25
caller-entered digits, and fixed percentage allocations. Pre typically in conjunction with aninoutbound      outgoing call campaigns,
dominately, however, the routing plans Supported by the system. Each agent may be assigned to a call                        management
                                                                                                                       particular  group,
carriers are static in the sense that they do not automatically Such as an inbound group or an outbound group. Agents                 can
react to unexpected variations in incoming call volume or also be assigned to a Supervisor team, which represents
distribution, nor to actual call delays being experienced at 30 multiple agents that report to the same Supervisor.
each destination. Reaction to changing conditions is done              In certain situations, it is necessary to restrict an agents
via manual modification of the plan, on a time scale of activity               to answering calls or handling a particular type of
minutes or hours.
                                                                    call  (e.g.,
    Recent service offerings from some interexchange carri during an outbound      answering only incoming calls). For example,
ers offer some degree of automatic reaction to changing 35 bound calls and controlling         campaign, the system placing the out
conditions. One Such offering, called "alternate termination placed, e.g., a so-called predictive      the rate at which the calls are
sequence' or “ATS’ (from AT&T), allows customers to availability of the agent to handle an dialer,                answered
                                                                                                                           relies on the
                                                                                                                              call. If the
establish maximum numbers of calls to be queued for each system places outbound calls expecting the agent                           to be
destination, with a pre-defined alternative when a primary available, but the agent instead places their own call                       to
destination is overloaded. Another offering, referred to as 40 another agent or a Supervisor, or has an incoming call
“intelligent routing control’ or “IRC' (from MCI), allows an connected to them, the outbound system may not have an
ACD to refuse a call from the network, again resulting in agent available to handle an answered outbound call. Addi
pre-defined alternative call handling. A third kind of service, tionally, if an agent is assigned to handle incoming calls, but
AT&T's Intelligent Call Processing, lets the interexchange instead places a call to another agent or listens to voice mail
network pass call-by-call data to a computer.                    45
    In a conventional ACD, phone calls are processed on a messages, increase,
                                                                                    the number of queued incoming calls may
                                                                                 thereby   increasing the waiting time experience by
first-in, first-out basis: the longest call waiting is answered the callers.
by the next available agent. Answering calls across multiple
automated call distributors (ACD) is typically done on a onOne                document which provides considerable information
                                                                        intelligent   networks is “ITU-T Recommendation Q. 1219,
first-in, first-out basis dependent upon time of receipt of the 50 Intelligent Network          User's Guide for Capability Set 1.
call by each ACD, whether the call is directly connected or dated April, 1994. This               document is incorporated herein by
forwarded.
                                                                    reference.
   Another call distribution scheme is provided in Gechter et
al., U.S. Pat. No. 5,036,535. This patent discloses a system andOne           known system proposes a call-management method
                                                                         system     for distributing calls to a plurality of individuals,
for automatically distributing telephone calls placed over a 55
network to one of a plurality of agent stations connected to        Such    as  automatic     call distribution (ACD) agents, which
the network via service interfaces, and providing status routes              calls to the individuals based upon a correlation of
messages to the network. Gechter et al.'s disclosed system attributes             of the individuals with calls that are tagged with
includes means for receiving the agent status messages and identification             of abilities that are advantageous to efficiently
call arrival messages from the network, which means are distributed, one calls.
                                                                 60 processing      the          That is, for each call that is to be
                                                                                          or more skills that are relevant to efficient
connected via a network service interface to the network.
Routing means responsive to the receiving means is pro handling                  of the call are determined and then used to route the
vided for generating a routing signal provided to the network call        to an appropriate individual. In addition, call manage
to connect the incoming call to an agent station through the ment preferences may also be accommodated.
network. In the system disclosed in Gechter et al, when an 65 Personalization and Collaborative Filtering
incoming call is made to the call router, it decides which             Known systems allow personalization or prediction of
agent station should receive the call, establishes a call with user type, preferences or desires based on historical data or
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limited information available. These known systems have         6,317.718 System, method and article of manufacture for
been applied to a number of different domains.                    location-based filtering for shopping agent in the physical
   In a non-collaborative personalization system, the avail       world
able information about a person is analyzed, and based on           6.266,649 Collaborative recommendations using item-to
this information, conclusions are drawn. In a collaborative           item similarity mappings
system, the available information is used to associate the 6.256,648 System and method for selecting and displaying
person with a group of other users having common                      a hyperlinked information resources
attributes. By grouping users, the data sets are more dense,        6.253,193 Systems and methods for the secure transaction
permitting more detailed inferences to be drawn. The groups           management and electronic rights protection
are defined by mapping user attributes in a multidimensional 10 6,236,980 Magazine, online, and broadcast summary rec
space, and then defining clusters of users having correlated          ommendation reporting system to aid in decision making
traits. Further, the use of data relating to past transactions of 6,236,978 System and method for dynamic profiling of users
other users allows prediction of outcomes and sequences of            in one-to-one applications
actions, without having a true past example of the activity 6,185,683 Trusted and secure techniques, systems and meth
from that particular user.                                       15   ods for item delivery and execution
   The following references are expressly incorporated 6,177,932 Method and apparatus for network based cus
herein by reference:                                                  tomer service
6,418,424 Ergonomic man-machine interface incorporating 6,170,742 Method for using a smart card for recording
   adaptive pattern recognition based control system                  operations, service and maintenance transactions and
6,400.996 Adaptive pattern recognition based control sys              determining compliance of regulatory and other sched
  tem and method                                                  uled events
6,081,750 Ergonomic man-machine interface incorporating 6,146,026 System and apparatus for selectively publishing
  adaptive pattern recognition based control system             electronic-mail
5,920,477 Human factored interface incorporating adaptive 6,138,119 Techniques for defining, using and manipulating
  pattern recognition based controller apparatus           25   rights management data structures
5,903.454 Human-factored interface corporating adaptive 6,112,186 Distributed system for facilitating exchange of
  pattern recognition based controller apparatus                user information and opinion using automated collabora
5,901.246 Ergonomic man-machine interface incorporating         tive filtering
  adaptive pattern recognition based control system           6,112,181 Systems and methods for matching, selecting,
5,875,108 Ergonomic man-machine interface incorporating 30 narrowcasting, and/or classifying based on rights man
  adaptive pattern recognition based control system             agement and/or other information
5,867.386 Morphological pattern recognition based control 6,078,928 Site-specific interest profiling system
  ler system                                                  6,016,475 System, method, and article of manufacture for
5,774.357 Human factored interface incorporating adaptive       generating implicit ratings based on receiver operating
  pattern recognition based controller apparatus           35   CUVS
6,529,891 Automatic determination of the number of clus       5.999,908 Customer-based product design module
  ters by mixtures of Bayesian networks
6,466,970 System and method for collecting and analyzing 5,560,011
                                                                tion
                                                                         Computer system for monitoring a user's utiliza
                                                                      pattern to determine useful tasks
  information about content requested in a network (World 6,484,123 Method        and system to identify which predictors
  Wide Web) environment                                    40
                                                                are  important  for making a forecast with a collaborative
6,449,367 Steganographic techniques for securely deliver        filter
  ing electronic digital rights management control informa 6,480,844 Method for inferring behavioral characteristics
  tion over insecure communication channels
                                                                based on a large Volume of data
6,446,035 Finding groups of people based on linguistically 6,477,246
  analyzable content of resources accessed                 45
                                                                          Method and apparatus for providing expanded
                                                                telecommunications service
6,430.558 Apparatus and methods for collaboratively
  searching knowledge databases                               6.421,709 E-mail filter and method thereof
6,412,012 System, method, and article of manufacture for 6.405,922 Keyboard signature security system
  making a compatibility-aware recommendations to a user 6 6.353,813 Method and apparatus, using attribute set har
6,389.372 System and method for bootstrapping a collabo 50 monization and default attribute values, for matching
  rative filtering system                                       entities and predicting an attribute of an entity
6.356,899 Method for interactively creating an information 6.345.264 Methods and apparatus, using expansion
  database including preferred information elements, such       attributes having default, values, for matching entities and
  as preferred-authority, world wide web pages                  predicting an attribute of an entity
6,334,131 Method for cataloging, filtering, and relevance 55 6,314.420 Collaborative/adaptive search engine
  ranking frame-based hierarchical information structures     6.308,175 Integrated collaborative/content-based filter
6,334,127 System, method and article of manufacture for         structure employing selectively shared, content-based
  making serendipity-weighted recommendations to a user         profile data to evaluate information entities in a massive
6,327.590 System and method for collaborative ranking of        information network
  search results employing user and group profiles derived 60 6,144.964 Methods and apparatus for tuning a match
  from document collection content analysis                     between entities having attributes
6,321,221 System, method and article of manufacture for 6,029,161 Multi-level mindpool system especially adapted
  increasing the user value of recommendations                  to provide collaborative filter data for a large scale infor
6,321, 179 System and method for using noisy collaborative      mation filtering system
  filtering to rank and present items                      65 6,018,738 Methods and apparatus for matching entities and
6,317,722 Use of electronic shopping carts to generate          for predicting an attribute of an entity based on an
  personal recommendations                                      attribute frequency value
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                           37                                                                    38
http://www.ie.ncsu.edu/fangroup/neural.dir/indexneu               put, while assuring database consistency and overall system
  ral.html                                                        reliability. Even so, certain users may selectively exploit
http://www.geneticprogramming.com/AI/nn.html                      known technological limitations and artifacts of the auction
http://www.cs.utk.edu/~yarkhan/neural networks.html               system, including non-real time updating of bidding infor
http://www.physiol.ox.ac.uk/~ket/nn.html                          mation, especially in the final stages of an auction.
http://www.aaai.org/AITopics/html/neural.html                        Because of existing bandwidth and technological hurdles,
http://www.inference.phy.cam.ac.uk/mackay/itprinn/                Internet auctions are quite different from live auctions with
  book.html                                                       respect to psychological factors. Live auctions are often
http://www.hh..se/staff/nicholas/NN Links.html                    monitored closely by bidders, who strategically make bids,
http://xpidea.com/products/neurovcl/neuroabout.htm             10 based not only on the “value' of the goods, but also on an
http://www.msm.ele.tue.nl/research/neural/                        assessment of the competition, timing, psychology, and
http://homepages.goldsmiths.ac.uk/nikolaev/Nnets.htm              progress of the auction. It is for this reason that so-called
http://www.triumf.ca/project ETA/neural network.html              proxy bidding, wherein the bidder creates a preprogrammed
http://personal.bgsu.edu/~Suny/nn.html                            “strategy”, usually limited to a maximum price, are disfa
http://www.icmc.Sc.usp.br/-andre/ann links.html                15 Vored. A maximum price proxy bidding system is somewhat
http://www.stud.ntnu.no/-hirpa/links/AI links.htm                 inefficient, in that other bidders may test the proxy, seeking
http://it.umary.edu/Library/research/www subjects/neural          to increase the bid price, without actually intending to
  networks.html                                                   purchase, or contrarily, after testing the proxy, a bidder
http://cindy.cis.netu.edu.tw/NN/NN5/www.html                      might give up, even below a price he might have been
http://www.public.iastate.edu/~acl/links/links.html               willing to pay. Thus, the proxy imposes inefficiency in the
http://www.cs.cf.ac.uk/User/O.F.Rana/neural.html                  system that effectively increases the transaction cost.
http://www.cs.unredu/-bebis/CS791S/                                  In order to address a flurry of activity that often occurs at
http://www.geocities.com/fastiland/NNwww.html                     the end of an auction, an auction may be held open until no
http://cns-web.bu.edu/pub/snorrason/bookmarks/neu                 further bids are cleared for a period of time, even if
  ral.html                                                    25   advertised to end at a certain time. This is common to both
http://www.open.brain.riken.go.jp/-cao/index work.html             live and automated auctions. However, this lack of deter
http://svr-www.eng.cam.ac.uk/research/neural/other neu    minism may upset coordinated Schedules, thus impairing
  ral net sites.html                                      efficient business use of the auction system.
  See, U.S. Pat. Nos. 4,048,452; 4,737,983, 4,757,529; 30 In order to facilitate management of bids and bidding,
4,893,301: 4,953,204; 5,073,890: 5,278,898; 5,309,513;    Some of the Internet auction sites have provided non
5,369,695; 5,506,898; 5,511,117: 5,519,773: 5,524,147;    Hypertext Markup Language (HTML) browser based soft
5,590, 188: 5,633,922; 5,633,924; 5,715,307; 5,740,240;   ware   “applet” to track auctions. For example, ONSALE.
5,768,360; 5,825,869; 5,848,143; 5,870.464; 5,878,130;    COM has made available a Marimba Castanet(R) applet
5,901,214; 5,905,792; 5,907,608; 5,910,982; 5,915,011; 35 called Bidwatch to track auction progress for particular
5,917,903; 5,923,745; 5,926,539; 5,933,492, 5,940,947;    items or classes of items, and to facilitate bidding thereon.
5,946,387; 5,953,332; 5,953,332; 5,953,405; 5,956,397;    This system, however, lacks real-time performance under
5,960,073; 5,963,632; 5,970,134; 5,978,465; 5,982,868;    many circumstances, having a stated refresh period of 10
5,987,116; 5,987,118; 5,991,391; 5,991,392; 5,991,395;    seconds, with a long latency for confirmation of a bid, due
5,995,614; 5,995,615; 5,999,965; 6,002,760; 6,005,931; 40 to constraints on Software execution, quality of Service in
6,004,146; 6,058,435; 6,061,347; 6,064,667; 6,072,864;    communications streams, and bid confirmation dialogue.
6,104,801: 6,115,462: 6,118,865; 6,122,358; 6,122,360;    Thus, it is possible to lose a bid even if an attempt was made
6,122,364; 6,128.380; 6,134,530; 6,147,975; 6,157,655;    prior to another bidder. The need to quickly enter the bid, at
6,175,563; 6,175,564: 6,185,292; 6,223,165; 6,226,289:    risk of being too late, makes the process potentially error
6,229,888; 6,230, 197; 6,233,332, 6,333,979; 6,333,980;            prone.
6347,139; and U.S. patent application Nos. 010000458 A1; 45         Proxy bidding, as discussed above, is a known technique
0010024497 A1: 0020006191 A1: 0020009190 A1;                     for overcoming the constraints of Internet communications
002001984.6 A1; and 0020021693 A1, each of which is              and client processing limitations, since it bypasses the client
expressly incorporated herein by reference.                      and telecommunications links and may execute solely on the
                                                                 host system or local thereto. However, proxy bidding under
Internet Auctions                                             50 mines some of the efficiencies gained by a live market.
   On-line electronic auction systems which allow efficient         U.S. Pat. No. 5,890,138 to Godin, et al. (Mar. 30, 1999),
sales of products and services are well known, for example, expressly incorporated herein by reference in its entirety,
EBAY.COM, ONSALE.COM, UBID.COM, and the like.                    relates to an Internet auction system. The system implements
Inverse auctions that allow efficient purchases of product are a declining price auction process, removing a user from the
also known, establishing a market price by competition 55 auction process once an indication to purchase has been
between sellers. The Internet holds the promise of further received. See, Rockoff, T. E., Groves, M.: “Design of an
improving efficiency of auctions by reducing transaction Internet-based System for Remote Dutch Auctions”, Internet
costs and freeing the “same time-same place' limitations of Research, V 5, n 4, pp. 10–16, MCB University Press, Jan.
traditional auctions. This is especially appropriate where the 01, 1995.
goods may be adequately described by text or images, and 60 A known computer site for auctioning a product on-line
thus a physical examination of the goods is not required comprises a least one web server computer designed for
prior to bidding.                                                serving a host of computer browsers and providing the
   In existing Internet systems, the technological focus has browsers with the capability to participate in various auc
been in providing an auction system that, over the course of tions, where each auction is of a single product, at a specified
hours to days, allow a large number of simultaneous auc 65 time, with a specified number of the product available for
tions, between a large number of bidders to occur. These sale. The web server cooperates with a separate database
systems must be scalable and have high transaction through computer, separated from the web server computer by a
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firewall. The database computer is accessible to the web time, the price is reduced to liquidate demand above the
computer server computer to allow selective retrieval of price point, with the new price becoming the posted price.
product information, which includes a product description, On the other hand, if a certain sales Volume is exceeded in
the quantity of the product to be auctioned, a start price of a specified period of time, the system may automatically
the product, and an image of the product. The web server 5 increase the price. These automatic price changes allow the
computer displays, updated during an auction, the current seller to respond quickly to market conditions while keeping
price of the product, the quantity of the product remaining the price of the merchandise as high as possible, to the
available for purchase and the measure of the time remain seller's benefit. A “Proxy Bidding feature allows a bidder
ing in the auction. The current price is decreased in a to place a bid for the maximum amount they are willing to
predetermined manner during the auction. Each user is 10 pay, keeping this value a secret, displaying only the amount
provided with an input instructing the system to purchase the necessary to win the item up to the amount of the currently
product at a displayed current price, transmitting an identi high bids or proxy bids of other bidders. This feature allows
fication and required financial authorization for the purchase bidders to participate in the electronic auction without
of the product, which must be confirmed within a predeter revealing to the other bidders the extent to which they are
mined time. In the known system, a certain fall-out rate in 15 willing to increase their bids, while maintaining control of
the actual purchase confirmation may be assumed, and their maximum bid without closely monitoring the bidding.
therefore some overselling allowed. Further, after a purchase The features assures proxy bidders the lowest possible price
is indicate, the user's screen is not updated, obscuring the up to a specified maximum without requiring frequent
ultimate lowest selling price from the user. However, if the inquiries as to the state of the bidding.
user maintains a second browser, he can continue to monitor          A "Floating Closing Time’ feature may also be imple
the auction to determine whether the product could have mented whereby the auction for a particular item is auto
been purchased at a lower price, and if so, fail to confirm the matically closed if no new bids are received within a
committed purchase and purchase the same goods at a lower predetermined time interval, assuming an increasing price
price while reserving the goods to avoid risk of loss. Thus, auction. Bidders thus have an incentive to place bids expe
the system is flawed, and may fail to produce an efficient 25 ditiously, rather than waiting until near the anticipated close
transaction or optimal price.                                     of the auction.
   An Internet declining price auction system may provide            U.S. Pat. No. 5,905,975, Ausubel, issued May 18, 1999,
the ability to track the price demand curve, providing expressly incorporated herein by reference in its entirety,
valuable marketing information. For example, in trying to relates to computer implemented methods and apparatus for
determine the response at different prices, companies nor 30 auctions. The proposed system provides intelligent systems
mally have to conduct market Surveys. In contrast, with a for the auctioneer and for the user. The auctioneer's system
declining price auction, substantial information regarding contains information from a user system based on bid
price and demand is immediately known. The relationship information entered by the user. With this information, the
between participating bidders and average purchasers can auctioneer's system determines whether the auction can be
then be applied to provide a conventional price demand 35 concluded or not and appropriate messages are transmitted.
curve for the particular product.                                 At any point in the auction, bidders are provided the
   U.S. Pat. No. 5,835,896, Fisher, et al., issued Nov. 10,       opportunity to submit not only their current bids, but also to
1998, expressly incorporated herein by reference in its enter future bids, or bidding rules which may have the
entirety, provides method and system for processing and opportunity to become relevant at future times or prices, into
transmitting electronic auction information over the Internet, 40 the auction system's database. Participants may revise their
between a central transaction server system and remote executory bids, by entering updated bids. Thus, at one
bidder terminals. Those bids are recorded by the system and extreme, a bidder who wishes to economize on his time may
the bidders are updated with the current auction status choose to enter his entire set of bidding rules into the
information. When appropriate, the system closes the auc computerized system at the start of the auction, effectively
tion from further bidding and notifies the winning bidders 45 treating this as a sealed-bid auction. At the opposite extreme,
and losers as to the auction outcome. The transaction server      a bidder who wishes to closely participate in the auction may
posts information from a database describing a lot available choose to constantly monitor the auction's progress and to
for purchase, receives a plurality of bids, stored in a bid submit all of his bids in real time. See also, U.S. patent
database, in response to the information, and automatically application Ser. No. 08/582,901 filed Jan. 4, 1996, which
categorizes the bids as Successful or unsuccessful. Each bid 50 provides a method for auctioning multiple, identical objects
is validated, and an electronic mail message is sent inform and close Substitutes.
ing the bidder of the bid status. This system employs HTTP,
and thus does not automatically update remote terminal E-Commerce System
screens, requiring the e-mail notification feature.                  U.S. Pat. No. 5,946,669 (Polk, Aug. 31, 1999), expressly
   The auction rules may be flexible, for example including 55 incorporated herein by reference, relates to a method and
Dutch-type auctions, for example by implementing a price apparatus for payment processing using debit-based elec
markdown feature with scheduled price adjustments, and tronic funds transfer and disbursement processing using
English-type (progressive) auctions, with price increases addendum-based electronic data interchange. This disclo
corresponding to Successively higher bids. In the Dutch type Sure describes a payment and disbursement system, wherein
auction, the price markdown feature may be responsive to 60 an initiator authorizes a payment and disbursement to a
bidding activity over time, amount of bids received, and collector and the collector processes the payment and dis
number of items bid for. Likewise, in the progressive bursement through an accumulator agency. The accumulator
auction, the award price may be dependent on the quantity agency processes the payment as a debit-based transaction
desired, and typically implements a lowest Successful bid and processes the disbursement as an addendum-based
price rule. Bids that are below a preset maximum posted 65 transaction. The processing of a debit-based transaction
selling price are maintained in reserve by the system. If a generally occurs by electronic funds transfer (EFT) or by
certain sales Volume is not achieved in a specified period of financial electronic data interchange (FEDI). The processing
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of an addendum-based transaction generally occurs by elec dynamic log records the movement of the voucher through
tronic data interchange (EDI).                                     the system and accordingly grows over time. This allows the
   U.S. Pat. No. 6,005,939 (Fortenberry, et al., Dec. 21,          system operator to not only reconcile the vouchers before
1999), expressly incorporated herein by reference, relates to redeeming them, but also to recreate the history of move
a method and apparatus for storing an Internet user's identity ment of a Voucher should an irregularity like a duplicate
and access rights to World Wide Web resources. A method voucher be detected. These vouchers are used within a
and apparatus for obtaining user information to conduct self-contained system including a large number of remote
secure transactions on the Internet without having to re-enter devices that are linked to a central system. The central
the information multiple times is described. The method and system can e linked to an external system. The external
apparatus can also provide a technique by which secured 10 system, as well as the remote devices, is connected to the
access to the data can be achieved over the Internet. A            central system by any one or a combination of networks. The
passport containing user-defined information at various networks must be able to transport digital information, for
security levels is stored in a secure server apparatus, or example the Internet, cellular networks, telecommunication
passport agent, connected to computer network. A user networks, cable networks or proprietary networks. Vouchers
process instructs the passport agent to release all or portions 15 can also be transferred from one remote device to another
of the passport to a recipient node and forwards a key to the remote device. These remote devices can communicate
recipient node to unlock the passport information.                 through a number of methods with each other. For example,
   U.S. Pat. No. 6,016,484 (Williams, et al., Jan. 18, 2000), for a non-face-to-face transaction the Internet is a choice, for
expressly incorporated herein by reference, relates to a a face-to-face or close proximity transactions tone signals or
system, method and apparatus for network electronic pay light signals are likely methods. In addition, at the time of a
ment instrument and certification of payment and credit transaction a digital receipt can be created which will
collection utilizing a payment. An electronic monetary sys facilitate a fast replacement of vouchers stored in a lost
tem provides for transactions utilizing an electronic-mon remote device.
etary system that emulates a wallet or a purse that is Micropayments
customarily used for keeping money, credit cards and other 25
forms of payment organized. Access to the instruments in              U.S. Pat. No. 5,999,919 (Jarecki, et al., Dec. 7, 1999),
the wallet or purse is restricted by a password to avoid expressly incorporated herein by reference, relates to an
unauthorized payments. A certificate form must be com efficient micropayment system. Existing Software proposals
pleted in order to obtain an instrument. The certificate form for electronic payments can be divided into “on-line'
obtains the information necessary for creating a certificate 30 schemes which require participation of a trusted party (the
granting authority to utilize an instrument, a payment holder bank) in every transaction and are secure against overspend
and a complete electronic wallet. Electronic approval results ing, and "off-line' schemes which do not require a third
in the generation of an electronic transaction to complete the party and guarantee only that overspending is detected when
order. If a user selects a particular certificate, a particular vendors submit their transaction records to the bank (usually
payment instrument holder will be generated based on the 35 at the end of the day). A new “hybrid’ scheme is proposed
selected certificate. In addition, the issuing agent for the which combines the advantages of both “on-line' and “off
certificate defines a default bitmap for the instrument asso line' electronic payment schemes. It allows for control of
ciated with a particular certificate, and the default bitmap overspending at a cost of only a modest increase in com
will be displayed when the certificate definition is com munication compared to the off-line schemes. The protocol
pleted. Finally, the number associated with a particular 40 is based on probabilistic polling. During each transaction,
certificate will be utilized to determine if a particular party with some small probability, the vendor forwards informa
can issue a certificate.                                         tion about this transaction to the bank. This enables the bank
   U.S. Pat. No. 6,029,150 (Kravitz, Feb. 22, 2000), to maintain an accurate approximation of a customer's
expressly incorporated herein by reference, relates to a spending. The frequency of polling messages is related to
system and method of payment in an electronic payment 45 the monetary value of transactions and the amount of
system wherein a plurality of customers have accounts with overspending the bank is willing to risk. For transactions of
an agent. A customer obtains an authenticated quote from a high monetary value, the cost of polling approaches that of
specific merchant, the quote including a specification of the on-line schemes, but for micropayments, the cost of
goods and a payment amount for those goods. The customer polling is a small increase over the traffic incurred by the
sends to the agent a single communication including a 50 off-line schemes.
request for payment of the payment amount to the specific          Micropayments are often preferred where the amount of
merchant and a unique identification of the customer. The the transaction does not justify the costs of complete finan
agent issues to the customer an authenticated payment cial security. In the micropayment scheme, typically a direct
advice based only on the single communication and secret communication between creditor and debtor is not required;
shared between the customer and the agent and status 55 rather, the transaction produces a result which eventually
information, which the agent knows about the merchant, results in an economic transfer, but which may remain
and/or the customer. The customer forwards a portion of the outstanding Subsequent to transfer of the underlying goods
payment advice to the specific merchant. The specific mer or services. The theory underlying this micropayment
chant provides the goods to the customer in response to scheme is that the monetary units are Small enough such that
receiving the portion of the payment advice.                 60 risks of failure in transaction closure is relatively insignifi
   U.S. Pat. No. 6,047,269 (Biffar, Apr. 4, 2000), expressly cant for both parties, but that a user gets few chances to
incorporated herein by reference, relates to a self-contained default before credit is withdrawn. On the other hand, the
payment system with creating and facilitating transfer of transaction costs of a non-real time transactions of Small
circulating digital vouchers representing value. A digital monetary units are substantially less than those of secure,
Voucher has an identifying element and a dynamic log. The 65 unlimited or potentially high value, real time verified trans
identifying element includes information Such as the trans actions, allowing and facilitating Such types of commerce.
ferable value, a serial number and a digital signature. The Thus, the rights management system may employ applets
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local to the client system, which communicate with other       of desirable objects); 5,768,385 (Jun. 16, 1998, Untraceable
applets and/or the server and/or a vendor/rights-holder to     electronic cash); 5,799,087 (Aug. 25, 1998, Electronic
validate a transaction, at low transactional costs.            monetary system); 5,812,668 (Sep. 22, 1998, System,
   The following U.S. Patents, expressly incorporated herein method and article of manufacture for verifying the opera
by reference, define aspects of micropayment, digital cer tion of a remote transaction clearance system utilizing a
tificate, and on-line payment systems: 5.930,777 (Barber, multichannel, extensible, flexible architecture); 5,828,840
Jul. 27, 1999, Method of charging for pay-per-access infor (Oct. 27, 1998, Server for starting client application on client
mation over a network); 5,857,023 (Jan. 5, 1999, Demers et if client is network terminal and initiating client application
al., Space efficient method of redeeming electronic pay on server if client is non network terminal); 5,832,089 (Nov.
ments); 5,815,657 (Sep. 29, 1998, Williams, System, 10 3, 1998, Off-line compatible electronic cash method and
method and article of manufacture for network electronic       system); 5,850,446 (Dec. 15, 1998, System, method and
authorization utilizing an authorization instrument); 5.793, article of manufacture for virtual point of sale processing
868 (Aug. 11, 1998, Micali, Certificate revocation system), utilizing an extensible, flexible architecture); 5,889,862
5,717,757 (Feb. 10, 1998, Micali, Certificate issue lists):    (Mar. 30, 1999, Method and apparatus for implementing
5,666,416 (Sep. 9, 1997, Micali, Certificate revocation sys 15 traceable electronic cash); 5,889,863 (Mar. 30, 1999, Sys
tem); 5,677,955 (Doggett et al., Electronic funds transfer tem, method and article of manufacture for remote virtual
instruments); 5,839,119 (Nov. 17, 1998, Krsul; et al., point of sale processing utilizing a multichannel, extensible,
Method of electronic payments that prevents double-spend flexible architecture); 5,898,154 (Apr. 27, 1999, System and
ing); 5,915,093 (Berlin et al.); 5.937,394 (Wong, et al.); method for updating security information in a time-based
5,933,498 (Schneck et al.); 5,903,880 (Biffar); 5,903,651      electronic monetary system); 5,901.229 (May 4, 1999, Elec
(Kocher); 5,884.277 (Khosla); 5,960,083 (Sep. 28, 1999, tronic cash implementing method using a trustee); 5,920,629
Micali, Certificate revocation system); 5,963,924 (Oct. 5,     (Jul. 6, 1999, Electronic-monetary system); 5,926,548 (Jul.
1999, Williams et al., System, method and article of manu 20, 1999, Method and apparatus for implementing hierar
facture for the use of payment instrument holders and chical electronic cash); 5,943,424 (Aug. 24, 1999, System,
payment instruments in network electronic commerce); 25 method and article of manufacture for processing a plurality
5.996,076 (Rowney et al., System, method and article of of transactions from a single initiation point on a multichan
manufacture for secure digital certification of electronic nel, extensible, flexible architecture); 5,949,045 (Sep. 7,
commerce); 6,016,484 (Jan. 18, 2000, Williams et al., Sys      1999, Micro-dynamic simulation of electronic cash transac
tem, method and article of manufacture for network elec        tions); 5,952,638 (Sep. 14, 1999, Space efficient method of
tronic payment instrument and certification of payment and 30 electronic payments); 5,963,648 (Oct. 5, 1999, Electronic
credit collection utilizing a payment); 6,018,724 (Arent); monetary system); 5,978,840 (System, method and article of
6,021.202 (Anderson et al., Method and system for process manufacture for a payment gateway system architecture for
ing electronic documents); 6,035,402 (Vaeth et al.); 6,049, processing encrypted payment transactions utilizing a mul
786 (Smorodinsky); 6,049,787 (Takahashi, et al.); 6,058,381    tichannel, extensible, flexible architecture); 5,983.208 (Nov.
(Nelson, Many-to-many payments system for network con 35 9, 1999, System, method and article of manufacture for
tent materials); 6,061,448 (Smith, et al.); 5,987,132 (Nov. handling transaction results in a gateway payment architec
16, 1999, Rowney, System, method and article of manufac ture utilizing a multichannel, extensible, flexible architec
ture for conditionally accepting a payment method utilizing ture); 5,987,140 (Nov. 16, 1999, System, method and article
an extensible, flexible architecture); 6,057.872 (Candelore); of manufacture for secure network electronic payment and
and 6,061,665 (May 9, 2000, Bahreman, System, method 40 credit collection); 6,002,767 (Dec. 14, 1999, System,
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6,178,240 Method and apparatus for entertaining callers in         6,026,149 Method and apparatus for managing telecommu
  a queue                                                            nications
6,173,052 Blending communications in a call center                 6,021,428 Apparatus and method in improving e-mail rout
6,170,011 Method and apparatus for determining and initi             ing in an internet protocol network telephony call-in
  ating interaction directionality within a multimedia com           Center
  munication center                                                6,021,190 Method and apparatus for receiving and process
RE37,001 Interactive call processor to facilitate completion         ing an incoming call
  of queued calls                                                  6,021,114 Method and system for utilizing communications
6,157,711 Multiple party telephone control system               lines
6,154,535 Methods and system for obtaining processing 10 6,018,579 Call center services for local calls using local
  information relating to a communication                       number portability
6,154,528 System and method for storing and transferring 6,016,344 Telephonic-interface statistical analysis system
  information tokens in a low network communication           6,014,439 Method and apparatus for entertaining callers in
6,151,387 Telephonic-interface game control system              a queue
6,148,065 Telephonic-interface statistical analysis system 15 6,011.845 Method and system for two-way call holding
6,144.737 Trunk interface circuit having function of battery    using an intelligent communication device
  feed to central office                                      6,009,149 Automated calling system with database updating
6,137,870 System for providing caller information to called     by callee
  party via call standard data field                          6,005,928 Method and system for automatic distribution
6,137,862 Failover mechanism for computer/telephony inte        addressing
  gration monitoring server                                   6,005,534 Digital information system
6,134,530 Rule based routing system and method for a 6,002.760 Intelligent virtual queue
  virtual sales and service center                            5.995.948 Correspondence and chargeback workstation
6,130,937 System and process for automatic storage,           RE36,416 Method and apparatus for dynamic and interde
  enforcement and override of consumer do-not-call 25           pendent processing of inbound calls and outbound calls
  requests                                                    5.991,761 Method of reorganizing a data entry database
6,128,376 Change of equal access carrier notification         5.991,604 Ring detecting circuit and method for wireless/
6,125,178 Method and apparatus for enabling interaction         wired composite telephone
  between callers with calls positioned in a queue            5.991,393 Method for telephony call blending
6,122,484 Method and apparatus for processing telephone 30 5.987,116 Call center integration with operator services
  calls                                                              databases
6,122,364 Internet network call center                      5.987,115 Systems and methods for servicing calls by ser
6,122.358 Operator connection control method                  Vice agents connected via standard telephone lines
6,115,693 Quality center and method for a virtual sales and 5,982,857 Voice recording method and system providing
  service center                                         35   context specific storage and retrieval
6,102.970 System and method for optimizing a program 5,978,471 Method and device for detecting a ringtrip
  containing a number of the flows through flow branches 5.978.467 Method and apparatus for enabling interaction
6,098,069 Data managing method and data managing device       between callers with calls positioned in a queue
  using the same for manipulating data independently from 5.978.465 Method and apparatus for allocating resources in
  networks                                                    40     a call center
6,097.806 ACD with multi-lingual agent position                5.974,135 Teleservices computer system, method, and man
6,084,943 Diagnostic device for a telephone system               ager application for integrated presentation of concurrent
6,070,142 Virtual customer sales and service center and          interactions with multiple terminal emulation sessions
  method                                                       5.974,120 Telephone interface call processing system with
6,067,348 Outbound message personalization                  45   call selectivity
6,064,973 Context manager and method for a virtual sales       5,970,132  Call distributor
  and service center                                           5.966,429 Telephone transaction processing as a part of a
6,064,731 Arrangement for improving retention of call cen        call transport
  ter's customers                                              5.963,635 Method and apparatus for providing result-ori
                                                            50   ented customer service
6,064,730 Customer-self routing call center
6,058,435 Apparatus and methods for responding to multi 5.956,392
                                                               5,949,863
                                                                          Private branch exchange apparatus
                                                                          Coin  operated telephone auditor
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6,055.307 System and method for selecting agent destina 5,949,852 Methodresponse
                                                               5,949,854  Voice
                                                                                  for
                                                                                           service apparatus
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  tions and monitoring calls made to network customers 55 5,946,394 Isolation amplifier with        hook switch control
6,052,453 Coin operated telephone auditor                      5,946.388 Method and apparatus for priority queuing of
6,049,599 Churnamelioration system and method therefor           telephone calls
6,044,368 Method and apparatus for multiple agent com 5,943,403 Customized, billing-controlled call bridging sys
  mitment tracking and notification                              tem
6,044,149 Device for detecting DTMF tones                   60 5.940,813 Process facility management matrix and system
6,044,135 Telephone-interface lottery system                     and method for performing batch, processing in an on-line
6,041,118 Architecture for telephone set                         environment
6,041,116 Method and apparatus for controlling outbound 5.940.497 Statistically-predictive and agent-predictive call
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6,035,021 Telephonic-interface statistical analysis system 65 5.940,493 System and method for providing directory assis
6,031,899 Method and apparatus for identifying type of call      tance information
6,026,156 Enhanced call waiting                                5.937.390 On-line advertising system and its method
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  between alternate telephone service providers                 outbound call management and for scheduling appoint
5,933,480 Method for billing and controlling fraud in pro       ments
  viding pay information services                             5,815,554 Method and system for indicating operator avail
5,930,339 Leaving a message on a held connection                ability
5,926,528 Call pacing method                                  5,815,551 Telephonic-interface statistical analysis system
5.924,016 Control and monitoring apparatus and method for 5,812,642 Audience response monitor and analysis system
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5,923,746 Call recording system and method for use with a 5,806,071 Process and system for configuring information
  telephonic switch                                        10   for presentation at an interactive electronic device
5,918,213 System and method for automated remote pre 5,799,077 Method of and apparatus for automatic dialing
  viewing and purchasing of music, video, Software, and 5,796,816 Device and method for cleaning telephone num
  other multimedia products                                     ber list
5.917,893 Multiple format telephonic interface control sys 5,796,791 Network based predictive dialing
  tem                                                      15 5,793,846 Telephonic-interface game control system
5,914,951 System and method for controlling and monitor 5,787,159 Use of caller ID information
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  vice representatives                                        5,774,537 Method and apparatus for displaying multiple
5.913,195 System and method for developing VRU voice            languages in key phone system
  dialogue                                                    5,768.355 Three-way call detection system
5,912,947 Public notification system and method               5,761.285 Universal telephony application client that is
5,907,601 Call pacing method                                    configurable from a profile for a tellphone call campaign
5,905,979 Abstract manager system and method for man 5,748,711 Telephone transaction processing as a part of call
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5,903,641 Automatic dynamic changing of agents call 25 5,742,675 Method and apparatus for automatically distrib
  handling assignments                                          uting calls to available logged-in call handling agents
5,901.209 Caller ID substitution for selected telephone 5,740.233 System and method for statistical diagnosis of the
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5,898,762 Telephonic-interface statistical analysis system    RE35,758 Voice/data-formated telephone information stor
5,898,759 Telephone answering machine with on-line 30 age and retrieval system
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5,896,446 Coin operated telephone auditor                          responsive call servicing system and method
5,894,505 Telephone answering machine                            5,727,154 Program synchronization on first and second
5,893.902 Voice recognition bill payment system with               computers by determining whether information transmit
  speaker verification and confirmation                       35   ted by first computer is an acceptable or unacceptable
5,878,126 Method for routing a call to a destination based on      input to second computer program
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5,872,833 Telephone transaction processing as a part of a 5,717,741 Method for handling telephonic messages
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                                                                 5,701.295 Variable communication bandwidth for providing
5,867,564 Time-of-day clock synchronization in communi             automatic call back and call hold
  cations networks                                               5,699,418 Telephone circuit
5,867,559 Real-time, on-line, call verification system
5,857.013 Method for automatically returning voice mail 5,696,818  for a
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                                                                         telephone   system
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5,854,832 Monitoring system and method used in automatic         5,696,809   Advanced    intelligent network based computer
  call distributor for timing incoming telephone calls             architecture  for concurrent  delivery of voice and text data
5,850,428 Message management system and method                     using  failure management     system
5,848,143 Communications system using a central control 5,692,034  tem
                                                                            Customized, billing-controlled call bridging sys
  ler to control at least one network and agent system        50
5.841,852 Method and system for telecommunications lan 5,692,033 5,687.225
                                                                            AIN queuing for call-back system
                                                                            System for adding outbound dialing to inbound
  guage Support
                                                                   call distributors
5,838,779 Adjunct controller for a telephone system
5,838,772 Voice services equipment                               5,684.863 Telephonic-interface statistical analysis system
5.835,572 Customized, billing controlled call bridging sys 55 5.675,637 Method for automatically obtaining and present
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5,828,734 Telephone interface call processing system with 5,661.283 Automated patching between ATM and consultant
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5,828,731 Method and apparatus for non-offensive termina 5,655,014 Switching device independent computer-tele
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  an outbound call by an answering machine                       5,655,013 Computer-based method and apparatus for con
5,825,869 Call management method and system for skill              trolling, monitoring, recording and reporting telephone
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5,822,410 Churnamelioration system and method therefor           5,652,788 Key telephone apparatus
5,822.401 Statistical diagnosis in interactive voice response 65 5,646,988 Incoming call controller for preferentially con
  telephone system                                                 necting a waiting call based on number of previous
5,822.400 Call record scheduling system and method                 unsuccessful call attempts
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5,638,436 Voice detection                                    5,544.232 Call distributor with automatic preannouncement
5,636,268 Communication system with queues                     system and method
5,636,267 Cleaning system for telephone number list        5 5,544.220 System for integrating a stand alone inbound
5,633,917 Remote-control telephone answering system and           automatic call distributor and an outbound automatic call
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5,625,682 Help desk improvement                                5.537,470 Method and apparatus for handling in-bound
5,625,676 Method and apparatus for monitoring a caller's         telemarketing calls
  name while using a telephone                              10 5.535.257 Method and apparatus for managing telephone
5,619,557 Telephone switching system and method for con          calls in a selective call radio system controller
  trolling incoming telephone calls to remote agents and for 5.533,109 Telecommunication system with user modifiable
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5,610,978 Ring discriminator                                   5.533,107 Method for routing calls based on predetermined
5,610,774 Audio Sound recording/reproducing apparatus 15 assignments of callers geographic locations
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5,600,710 Method for providing a recorded message to a 5.530.931 Method and apparatus for providing a look ahead
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5,594,791 Method and apparatus for providing result-ori          cations system
  ented customer service                                       5.528,666 Personal phone expansion system
5,594,790 Method for selecting and controlling the auto 5,526,417 Automatic call distributor with automated post
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5,592,543 Method and system for allocating agent resources 5,524,140 Telephone answering device linking displayed
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5,590,171 Method and apparatus for communications moni 25 5,519,773 Call sharing for inbound and outbound call center
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5,588,049 Method for the automatic insertion of removal of 5,517,566 Method for allocating agent resources to multiple
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5,586,179 System and method for adding and integrating           efficiency and improving service to parties on hold
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5,581,607 Customized, billing-controlled call bridging sys       ling ringing at local and remote telephones
  tem                                                       35 5,495.528 Digital telephone control interface system
5,581,604 Method and apparatus for processing an incoming 5,495.523 Method for low priority telephony system
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5,581,602 Non-offensive termination of a call detection of 5,493,690 Foldable portable telephone set
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5,579,383 Calling terminal controlled call coverage            5,481.596 Auxiliary baseband telephone interface for an
5,579.377 Remote-control telephone answering system and          answering machine
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5,577, 112 Telephony system with supervisory management          tems
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5,572.586 Communication control apparatus and method             tribution telephone system
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5,572.576 Telephone answering device linking displayed 50 detector
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5,570,419 System and method for an improved predictive           network
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5,561,711 Predictive calling scheduling system and method 5,436,967 Held party call-back arrangement
5,559,878 Telephonic communications answering and call 5.434.906 Method and apparatus for processing an incoming
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5,557,668 Call distribution system with distributed control 60 Voice after user's telephone is placed on-hook
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5,555,295 Service and information management system for 5.425,093 System for integrating a stand alone inbound
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5,555,290 Long distance telephone switching system with           dialer
  enhanced subscriber services                             65   5,420,919 Telephone line current modulator
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5,402,474 System, data processing method and program to            5,163,083 Automation of telephone operator assistance calls
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  and an archive server to automatically store telephone           5,128,984 Telephone interface call processing system with
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5,390,236 Telephone answering device linking displayed               two analog recording mediums
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5.351,285 Multiple format telephonic interface control sys           nication system
  tem                                                           15 5,077,789 Remotely commanded telephone switch enhanc
5,341,414 Calling number verification service                        ing System
5,341,412 Apparatus and a method for predictive call dialing 5,073.929 Voice-data telephonic control system
5.333,190 Telephone ring detection method and apparatus            5,070,526 Signal analyzing system
5,329,579 Modular adjunct processor made of identical 5,070.525 Method for avoiding call blocking
  multi-function modules adaptable under direction of one 5,063.522 Multi-user, artificial intelligent expert system
  or them to perform any of the adjunct-processor functions 5,048,075 Telephonic-interface statistical analysis system
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5.319,703 Apparatus and method for identifying speech and          5,020,095  Interactive call distribution processor
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5.313,516 Telephone answering device with automatic func 5,014,298 Voice-data telephonic control system
  tion                                                             5,007,078 Automated order entry recording method and
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  constructing host access tables for integration of tele 5,007,000 Classification of audio signals on a telephone line
  phony data with data processing systems                          4,998.272 Personal voice mail system
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  efficiency and improving service to parties to hold                phonic network and method
5,309,504 Automated identification of attendant positions in 4.975,841 Method and apparatus for reporting customer data
  a telecommunication system                                       4.958,371 Method and apparatus for determining when a
5,297,195 Method and apparatus for automatic telephone 40 telephone handset is off-hook
  Scheduling system                                                4.941,168 System for the recognition of automated tele
5,297,146 Communication terminal apparatus and its con               phone answering devices and delivery of prerecorded
  trol method                                                        messages to Such devices
5,289.530 Method and apparatus for vocally communicating 4,935.956 Automated public phone control for charge and
  to a caller at a remote telephone station synthesized 45 collect billing
  speech of Stored special service information                     4,933,964 Pacing of telephone calls for call origination
5,283,818 Telephone answering device linking displayed               management Systems
  data with recorded audio message                                 4.930,150 Telephonic interface control system
5,279,732 Remote workstation use with database retrieval           4,924.501 Dial pulse selection
  system                                                        50 4,894,857 Method and apparatus for customer account ser
5,253,289 Terminal connection device                                 Vicing
5,251.252 Telephone interface call processing system with
  call selectivity                                                 4,878.243 Call forwarding system and method
5,239,574 Methods and apparatus for detecting voice infor 4.866,754 Automatic telephone answering machine utilizing
  mation in telephone-type signals                              55
                                                                     Voice synthesis
5,224,153 Voice-data telephonic interface control system           4,852,149 Automated call filter
5,218,635 Low-frequency alternating current signal detec 4,807.279 Remotely programmable call forwarding control
  tor, in particular for central office line interface circuits      device
5,214,688 Method and apparatus for dynamic and interde 4,797.911 Customer account online servicing system
  pendent processing of inbound calls and outbound calls 60 4.768,221 Remote reprogramming system for telephone call
5,185,786 Automatic call center overflow retrieval system            forwarding service
5,168,517 Apparatus and methods for selectively forwarding 4,677,663 Telephone answering and call forwarding
  telephone calls                                                    improvement
5,166,974 Interactive call processor to facilitate completion 4.286,118 Data distribution system for private automatic
  of queued calls                                               65
                                                                     branch exchange
5,164,981 Voice response system with automated data trans
  fer                                                              each of which is expressly incorporated herein by reference.
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          SUMMARY AND OBJECTS OF THE                              having a main processor, for example one or more Intel
                 INVENTION                                        Pentium 4 Xeon or AMD Athlon MP processors, and one or
                                                                  more voice channel processors, such as Dialogic D/320-PCI
  The summary description of the invention herein provides        or D/160SC/LS, or PrimeNet MM PCI, or the like. In this
disclosure of a number of embodiments of the invention.            type of system, the Voice channel processor handles con
Language describing one embodiment or set of embodi nections and Switching, but does not implement control. The
ments is not intended to, and does not, limit or constrain the     control information is provided by the main processor over,
scope of other embodiments of the invention.                       for example, a PCI bus, although some or all control
   The present invention provides a system and method for 10 information may also be relayed over a mezzanine bus.
intelligent communication routing within a low-level com Because the actual voice channel processing is offloaded
munication server system. Therefore, it allows replacement from the main processor, real time response with respect to
or Supplementation of telephone numbers, IP addresses, Voice information is not required. Therefore, the main pro
e-mail addresses and the like, to identify targets accessible cessor may operate and be controlled by a standard operat
by the system with high-level definitions, which are con 15 ing system, in contrast to a real time operating system. While
textually interpreted at the time of communications routing, the control processor does operate under certain latency
to appropriately direct the communication. Therefore, the constraints, these are quite long as compared to the response
target of a communication is defined by an algorithm, rather latency required of the Voice channel processors. This, in
than a predetermined address or simple rule, and the algo turn, allows the main processor(s) to undertake a plurality of
rithm evaluated in real time for resolution of the target, to tasks which are not deterministic, that is, the time required
deliver the communication or establish a real or virtual           to complete processing of a task is unknown and is not
channel.                                                           necessarily completed within a time window. However, by
   Alternately, the intelligence of the server may be used to using state of the art processors, such as a 3.06 GHZ, Pentium
implement telephony or computer-telephony integration fea processor, the amount of processing which may be under
tures, other than destination or target.                        25 taken, meeting a reasonable expectation of processing
   Therefore, according to the present invention, communi latency, instance
                                                                             is Substantial. Thus, operating under the same
                                                                             of the operating system, for example sharing the
cations are, or may be, routed or other telecommunications same message             queue, as the interface between the main
features implemented, inferentially or intelligently, at a
relatively low level within the communications management processor            and the Voice channel processor(s), the system
architecture. For example, in a call center, the Software 30 according         to the present invention may process advanced
system which handles virtual or real circuit Switching and and complex algorithms for implementing intelligent con
management resolves the destination using an algorithm or trol. This architecture reduces the required bandwidth for
the like, rather than an unambiguous target.                       communications with an external high level management
   An embodiment according to the present invention, the system,   since
                                                                            as well as the processing load thereon. Likewise,
                                                                         significant decisions and resource allocations are made
                                                                35
control over Switching in a circuit Switch is partitioned within the Switching
together with intelligent functions.                                                       system, the need for high quality of
                                                                   service communications channels between the Switching
   Intelligent functions include, for example, but are not system and management system is also reduced.
limited to, optimizations, artificial neural network imple            Preferably, the intelligent algorithm for controlling the
mentation, probabilistic and stochastic process calculations, 40 Voice channels requires minimal access to a disk or mass
fuzzy logic, Baysian logic and hierachal Markov models storage based database. That is, for any transaction to be
(HMMs), or the like.                                               processed, preferably either all information is available to
   A particularly preferred embodiment provides a skill the main processor at the commencement of the process, or
based call automatic call director for routing an incoming an initial request is made at commencement of the process,
call in a call center to an appropriate or optimal agent. While 45 with no additional requests necessary to complete the pro
skill-based routing technologies are known in the art, the cess, although a stored database may be updated at the
intelligence for routing the call is separate from the Voice conclusion of the process. For example, as a call is received,
routing call management system. Thus, the prior art provides sufficient information is gathered to define the caller, either
a separate and distinct process, and generally a separate by identity or characteristics. This definition may then
system or partition of a system, for evaluation of the skill 50 trigger an initial database lookup, for example to recall a
based routing functionality. For example, while the low level user transaction file or a user profile. Preferably, therefore, a
voice channel switching is performed in a PBX, the high table or other data structure is stored in low-latency memory,
level policy management if often performed in a separate for example, double data rate dynamic random access
computer system, linked to the PBX through a packet memory (DDR-RAM), which holds the principal parameters
switched network and/or bus data link.                          55 and information necessary for execution of the algorithm.
   The present invention, however, integrates evaluation of Therefore, preferably agent and system status information is
intelligent aspects of the control algorithm with the com present and maintained locally, and need not be recalled for
munications management. This integration therefore allows each transaction.
communications to be established based on an inferential              According to a preferred embodiment of the invention, a
description of a target, rather than a concrete description, 60 process is provided for optimizing the selection of an agent
and allows a plurality of considerations to be applied, rather within the Voice channel Switching system. This process is
than a single unambiguous decision rule.                           a multi step process. Only the later part of the process
   An aspect of the present invention therefore proposes an generally need be completed in a time-critical fashion, e.g.,
architectural change in the computer telephony integrated as a foreground task. The initial part(s) of the process may
(CTI) systems, wherein the CTI host takes on greater 65 be implemented over an extended period of time, so long as
responsibilities, for example intelligent tasks, than in known the data available for transactions is sufficient current to
systems. In this case, the host is, for example, a PC server avoid significant errors.
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   First, a set of skills are defined, which are generally reliability estimate for the measurement of the skill level
independent skills, although high cross correlations between metric is also made available.
skills would not defeat the utility thereof. The skill defini     It is noted that in defining a desired agent profile for a
tions may be quite persistent, for example over a particular task, the skill metrics themselves are subject to unreliability.
campaign, call center, or even multiple call centers and That is, the target skill levels themselves are but an estimate
multiple campaigns. The skills generally are not subject to or prediction of the actual skills required. Therefore, it is
change after being defined, although through advanced also possible to estimate the reliability of the target skill
processing or reprocessing of data, clusters in multidimen level deemed desired. Where the target skill level is low or
sional space may be defined or revised, representing 'skills'. its estimate unreliable, two separate and distinct parameters,
Likewise, a manual process may be employed to define the 10 the selected agent may also have a low or unreliably
skill set.                                                          determined skill level for that attribute. On the other hand,
   Next, for any given task, the skills are weighted. That is, where a skill is reliably determined to be high, the agent skill
the importance of any skill with respect to the task is defined profile should also be high and reliably determined.
or predicted. This may also be a manual or automated                    In other instances, the metric of skill does not represent a
process. In the case of an automated process for weighted 15 quantitative metric, but rather a qualitative continuum. For
the skills, past tasks similar in nature are analyzed to example, the optimal speech cadence for each customer may
determine which skills were involved, and to what extent.            differ. The metric, in this case, represents a speech cadence
Typically, since the skill set definitions are normative, the parameter for an agent. The idea is not to maximize the
task-skill relationships are derived from data for various or parameter, but rather to optimize it. Therefore, reliability in
all agents, and need not be limited to the data pertaining to this instance does not equate to a reduction in estimated
a single or respective agent. The weighting may be adaptive, magnitude. It is also noted that a further ancillary parameter
that is, the weighting need not be invariant, and may change may be applied for each skill, that is, tolerance to mismatch.
over time based on a number of factors. The weightings may For example, while call received by a call center, for
also be time dependent, for example following a diurnal technical Support, may seek an agent who is more knowl
variation.                                                        25 edgeable than the caller is with respect to the problem, but
   Each agent is assigned a metric with respect to each skill. not one who is so far advanced that a communication gap
This process may be manual or automated, however, a would be apparent. Thus, an optimum skill parameter as well
number of advantages accrue from an automated analysis of as a range is defined. In like manner, other descriptors of a
agent skill level. Typically, an initial skill level will be statistical function or distribution may be employed, for
assigned manually or as a result of an off-line assessment. As 30 example, kurtosis and skew.
the agent is presented with tasks, the proficiency of the agent         It is noted that there are a number of ways of scoring
is analyzed, and the results used to define skill-specific outcome of a call, and indeed, a number of parallel scoring
metrics. As stated above, since the skill definitions are            systems may be employed, although they should be consis
normative, the skills of one agent are compared or compa tently applied; that is, if an agent is selected for handling a
rable to skills of others. For example, the skill sets are 35 call based on one paradigm, care should be employed in
assigned using a multivariate analysis technique, based on scoring the agent or the call outcome using a different
analysis of a plurality of transactions, predicting the best set paradigm. Such cross analyses, however, may be useful in
of skills consistent with the results achieved. In this analysis, determining an optimum outcome analysis technique.
each skill metric may be associated with a reliability indicia;         When a new matter is to be assigned to an agent, the pool
that is, in some instances, where the outcome of clearly 40 of agents are analyzed to determine, based on the predefined
determinable, and a skill as defined is highly correlated with skills, which is the best agent. Selecting the best agent for a
the outcome, the reliability of the determined skill value for task is dependent on a method of scoring outcome, as
a statistically significant sample size is high. On the other discussed above. In some instances, there is a relatively
hand, where a particular skill is relatively unrelated to the simple process. For example, agents entrusted to sell a single
tasks included within the data analysis set, that is, the 45 product can be scored based on number of units sold per unit
outcome factor is relatively uncorrelated with the value of time, or the time it takes to close a sale. However, where
the skill, the reliability of a determination of an agent skill different products are for sale, optimization may look at
will be low.                                                         different parameters. Such as call duration, revenues per call
   A related issue relates to inferring an agent skill level for or unit time, profit per call or unit time, or the like. As the
a skill parameter where little or no data is available. For this 50 variety of options for a user grows, so does the theoretical
task, collaborative filtering may be appropriate. A collabo issues involved in scoring an agent.
rative filter seeks to infer characteristics of a person based on       It is also possible for agents to engage in an auction; that
the characteristics of others having similar associated is, agents bid for a caller. In this case, an agent must be
parameters for other factors. See references cited and incor sufficiently competent to handle the call based on the infor
porated by reference above. In this case, there is only a small 55 mation available, and agents with skills far in excess of those
analytic difference between a parameter for which data is required may be excluded from the bidder pool. For
available from a respective agent, but yields an unreliable example, agents may be compensated on a commission
measurement, and a parameter for which data is unavailable, basis. The bidding may involve an agent bidding a commis
but can be inferred with some reliability. Therefore, the skill sion rate (up to the maximum allowed). In this way, the
determining process may employ both techniques in a 60 employer gets the benefit of competition between agents.
composite; as more data becomes available relating to an The bid, in this instance, may be a manual process entered
actual skill level of an agent with respect to a skill parameter, into by the agent as a prior call is being concluded.
reliance on inferred skill levels is reduced. It is therefore an        The bid may also be automatically generated at an agent
aspect of one embodiment of the invention that a collabo station, based on both objective and subjective factors. See,
rative filter is used to infer agent skill levels where specific 65 U.S. Patent Application No. 60/445346 (Steven M. Hoff
data is unavailable. It is also an aspect of an embodiment of berg, inventor), filed Feb. 4, 2003, Express Mail No.
the invention that in addition to a skill level metric, a            EU865412254US, expressly incorporated herein by refer
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ence. That is, a bid may be automatically defined and              For example, it is particularly advantageous to characterize
submitted on behalf of an agent. The bid may be defined            the caller, especially while the call is in the queue. However,
based on an economic or other criteria.                            increasing the amount of information which must be com
   The optimization of agent selection may also be influ municated between the switch control and a high-level
enced by other factors, such as training opportunities. There system is undesirable, thus limiting the ability to extract
fore, in determining a cost benefit of selection of a particular low-level information from the caller. Such information may
agent, a training cost/benefit may also be included.               include preferred language, a voice stress analysis, word
   Thus, according to a simplistic analysis, the agent with the cadence, accent, sex, the nature of the call (IVR and/or
highest score is selected. This is, indeed an “optimum             speech recognition), personality type, etc. In fact, much of
condition, assuming that there is uniform incremental cost in 10 this information may be obtained through interaction and/or
selecting each agent, and that the system remains static as a
result of the selection. On the other hand, if agent costs analysisSome
                                                                              of the caller during the queue period. Further, in
                                                                           instances, it may be possible to resolve the caller's
differ, or the system status is materially altered on the basis issues without ever       connecting to an agent, or at least to
of the selection, or there are extrinsic factors, such as
training, then the optimum may also differ.                     15 determine whether a personal or automated resolution is
   A number of factors may also influence optimality of preferred. According to an aspect of the invention, the
selection. While most are merely business-based consider switch itself may control and analyze the interaction with the
ations, some may be politically incorrect (bad public policy), caller. Advantageously, the Switch may further perform a
or even illegal. For example, an optimization may take into sensitivity analysis to determine which factors relating to the
account discrimination on an illegal basis, resulting in harm call are most useful with respect to selecting an appropriate
to either callers or agents within a protected class. That is, agent, and more particularly by limiting this analysis to the
a traditionally discriminated-against minority may be Sub agents within the pool which are likely to be available.
jected to automated and institutionalized discrimination as a Further information characterizing the user may also be
result of an algorithm which favors a discriminatory out gathered to construct a more detailed user profile.
come. In fact, the discriminatory outcome may be both 25 It is noted that, in Some cases, a caller prefers to remain
efficient and optimal, under an economic or game theory passive in the queue, while in other instances, the caller
analysis. However, this may be undesired. One way to would prefer to actively assist in optimizing the experience.
counteract this is to estimate the discriminatory impact of
the algorithm as a whole and apply a global antidiscrimi This            does not necessarily correlate with a universal caller
                                                                   profile,  nor the optimal selection of agent. This can be
natory factor. While this has the effect of correcting the 30 quickly ascertained,        for example through IVR.
situation on an overall level, it results in significant inefli
ciencies, and may result in a redistribution in an “unfair”           It is  noted  that an efficient analysis performed by the
manner. Further, the antidiscriminatory factor is itself a form switch may differ from an efficient analysis performed or
of discrimination.                                                 controlled by a high level system. For example, a high level
   Another method for approaching this problem is to ana 35 system may employ speech recognition technology for each
lyze the profile or skill vectors a the presumably discrimi caller in a queue. The switch, on the other hand, would likely
nated-against agent or customer classes, and compare this to not be able to implement speech recognition for each caller
the corresponding vectors of non-discriminated-against in a large queue internally. Further, since the profile of the
class of agents or customers. Assuming that discrimination caller and the correspondence thereof to the agent skill
occurs on a class basis, then, a corrective factor may be used 40 profile, as well as the correlation to the outcome, is depen
to normalize components of the vector to eliminate the dent on the selection of characteristics for analysis and
discriminatory effect.                                             outcome metric, the parameters of each, according to the
   A further method of remediating the perceived discrimi present invention, will also likely differ.
nation is through training. In this case, the presumably
objective outcome determinations are not adjusted, nor is the 45 Returning now to the problem of routing a call using an
“economic' model for optimal agent selection disturbed. intelligent Switch, the condition of optimality in the case of
Instead, a mismatch of the skill profile of an agent with the equal incremental cost, a stationary system condition as a
caller is used as an opportunity to modify behavior (pre result of the selection, and scalar skill parameters having a
Sumably of the agent). Such that the deficiency is corrected. magnitude correlated to value, is denoted by the formula:
   For example, a call center agent may have a characteris 50             An =MaxX(rsas.)
tically ethnic accent. In one case, the agent accent may be
matched with a corresponding caller accent, assuming that             Which denotes that Agent “n” is selected by maximizing
data shows this to be optimum. However, assuming that the sum, for each of the required skills s, of the product of
Vocal ethnicity relates to Socioeconomic status, the result weighting for that skill rs, and the score for agent nas. As
may be that the value of the transaction (or other score 55 stated above, this optimization makes two very important,
value) is associated with this status. The goal would there and not always applicable assumptions. First, more highly
fore be for the agent to retrain his or her accent, and indeed skilled agents often earn higher salaries. While, once sched
use a different accent based on an inferred optimal for the uled, presumably the direct cost is fixed, over the long term,
caller, or to overcome this impediment by scoring well in the pool of agents must be adjusted to the requirements, and
transactions involving those other than a “corresponding 60 therefore the selection of an “expensive' agent leads to
accent. Each of these is subject to modification through increased costs. On the other hand, by preferentially select
agent training.                                                    ing the skilled agent over the unskilled agent, the job
   Therefore, it is apparent that the optimization may be experience for the skilled agent may be diminished, leading
influenced by economic and non-economic factors, and the to agent retention problems. Likewise, the unskilled agent is
optimization may include objective and Subjective factors. 65 not necessarily presented with opportunities for live train
   The system may also intelligently analyze and control ing. Thus, it is seen that the agent cost may therefore be a
other aspects of telecommunications besides call routing.          significant variable.
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   The formula is therefore modified with a cost function as         a given matter, the system selects an optimal pairing of
follows:                                                             respective multiple agents with multiple matters. In the case
                                                                     of a call center, often the caller hold time is considered a
                                                                   basic criterion for selection. In order to weight this factor, for
Wherein Ac, and Ac, are agent cost factors for agent n. To 5 example, the cost function includes an allocation for caller
determine the anticipated cost, one might, for example, hold time, and possibly a non-linear function is applied.
divide the daily salary by the average number of calls per Thus,            a caller may be taken out of order for paring with an
day handled by the agent. This, however, fails to account for optimal agent.
the fact that the average length of a call may vary based on 10 In some cases, the variance of a parameter is also con
                                                                   sidered, in addition to its mean value. More generally, each
the type of call, which is information presumed available, parameter
since the skill set requirements are also based on a classi aspects. may itself be a vector, representing different
fication of the type of call. Further, an agent highly skilled
in Some areas may be relatively unskilled in others, making           It is noted that the various factors used in the system may
an average call duration or average productivity quite mis 15 be adaptive, that is, the predicted values and actual values
leading. Another cost to be considered is training cost. Since are      compared, and the formula or variables adjusted in a
                                                                   manner      which is expected to improve the accuracy of the
this is generally considered desirable, the actual value may
be negative, i.e., an unskilled trainee may be selected over prediction. Since outcome is generally measured in the same
a highly skilled agent, for a given call, even though the metric as the cost function, the actual cost is stored along
simple incremental agent costs might tend toward a different with         the conditions of the predictive algorithm, and the
                                                                   parameters     updated according to a particular paradigm, for
result. Likewise, selection of an agent for a certain call may
be considered a reward or a punishment for good or bad example an artificial neural network or the like. Typically,
performance, and this may also be allocated a cost function. there        will be insufficient data points with respect to a system
The key here is that all of these disparate factors are considered    The
                                                                                  static to perform an algebraic optimization.
                                                                             present  invention provides cost function optimization
normalized into a common metric, "cost', which is then 25
Subject to numeric analysis. Finally, the optimization may capabilities at a relatively low level within the call routing
itself evolve the skill sets and cost function, for example system. Thus, for example, prior systems provide relatively
through training and reward/punishment.                            high level software, operating on massive customer relations
   The cost of the “connection' between a caller and an            management (CRM) database systems, to seek optimization.
agent may also be considered, for example in a multi 30 parameters    On the other hand, according to the present invention, the
location call center, or where agents are compensated on a format, to the          are Supplied in advance, generally in a batch
per-call basis. Another factor to be considered in many cases telephony (CTI)lowsoftware,    level routing and computer integrated
is anticipated outcome. In some instances, the outcome is tions. Call outcome data iswhich                  computes the cost func
                                                                                                      generally available during and
irrelevant, and therefore productivity alone is the criterion.
On the other hand, in many cases, the agents serve a business 35 after    a call to the high level software, which can then set or
purpose, and call outcomes may be graded in terms of adjust                  values as necessary for the future.
achieving business goals. In many instances, the business presentnotedIt is         that, generally, the architecture according to the
                                                                              invention would not generally provide agent sched
goal is simple an economic parameter, Such as sales Volume, uling information,             since this represents a task separate from
profit, or the like, and may be directly compared within a
cost function normalized in economic units. On the other           the call routing functions. Therefore, known systems which
hand, some business goals, such as customer satisfaction, 40 integrate          both tasks are typically distinguished from the
must be converted and normalized into economic terms prior present             invention. However, it would be possible as a
to use in an optimization. In any case, the expected outcome separate          process for this to be performed on the telephony
resulting from a particular agent may be added as a factor in server according to the present invention. More generally,
the cost function.                                                 the updating of agent skill tables or a database, and agent
                                                                45 scheduling and call center management, are performed on
   Another factor to consider in making a selection of an
agent in a multi-skill call center is the availability of agents high
                                                                   server.
                                                                          level systems which are discrete from the telephony
                                                                             These systems typically access large databases, gen
for other calls, predicted or actual. Thus, while a selection of erate reports,
an agent for one matter may be optimal in a narrow context, pendent of theand              integrate many different functions inde
                                                                                       communications     functions.
the selected agent might be more valuable for another 50 The advantage of a preferred architecture                    according to the
matter. Even if the other matter is predicted or statistical, in present invention is that when a call is received,         it can be
Some instances it is preferred to assign more specialized routed in real time, rather than after a possibly significant
agents to matters that they can handle, rather than assigning delay. Further, this data processing partition reduces data
multitalented agents.                                              communications bandwidth requirements and reduces trans
   This is represented as follows:                              55 actional load on the CRM system. In addition, this archi
                        ii.                                        tectural partition reduces the need for the CRM system to be
                                                                   involved in low level call management, and reduces the need
Wherein Bc represents a term for the anticipated change in for the CTI software to continually interact with the high
value of agent n as a result of the selection, Cc represents a level CRM software. This, in turn, potentially allows use of
term which indicates the anticipated value of the transaction 60 simple architecture CTI platforms using standard operating
resulting from the selection of agent n, and Dc represents the systems.
opportunity cost for allocating agent n to the particular call.       According to a preferred embodiment, the matter skill
   In the case of competing requests for allocation, a slightly requirements, agent skill data, and other parameters, are
different formulation of the problem may be stated. In that provided to the CTI software, for example as an ASCII table.
case, one might compare all of the cost functions for the 65 The CTI software may, for example, invoke a subprocess for
matters in the queue with respect to each permissible pairing each call received or in the queue, to determine the then
of agent and matter. Instead of selecting an optimal agent for optimum agent selection, for a local optimization, i.e., a
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selection of the optimal agent without regard for the effect occur in real time, so must the resolution of the parties to the
of this selection on other concurrent optimizations. In order communication. Therefore, another aspect of the invention
to globally optimize, the processing is preferably unitary. As involves communications and coordination in real time of
conditions change, for example, further calls are added to the various system components, including the low level
the queue, or calls are completed, the optimizations may be system. Preferably, the data upon which an optimization is
recomputed.                                                       based is available locally to the low level system before a
   For example, in a call center with 500 agents, each real time communication is received, so that external com
classified with respect to 32 skills, with an average of 2000 munications to resolve the target are minimized. In some
calls in the queue, with about 50 agents available or antici cases, communications with other system components will
pated to be available at any given time, the computational 10 still be required, but preferably these do not require essen
complexity for each optimization is on the order of 160x10' tially non-deterministic systems to respond prior to resolu
(2000x50x50x32) multiplies, generally of 8 bit length. A 2 tion.
GHZ, Pentium 4 processor, for example, is capable of theo            Another aspect of the invention seeks to optimize long
retical performance of about 2400 MFLOPS. Using a sim term call center operations, rather than immediate efficiency
plified calculation, this means that less than about 10% of 15 perse. Thus, at various times, the system performs functions
the raw capacity of this processor would be required, and which are different or even opposite the result expected to
more powerful processors are being introduced regularly. achieve highest short term efficiency. Preferably, however,
For example, a 3.06 GHZ, Pentium 4 processor with “hyper during peak demand periods, the system assures high short
threading has recently been introduced. In fact, in real term efficiency by Switching or adapting mode of operation.
world situations, the processor would likely not be able to          Therefore, according to the present invention, a number of
achieve its benchmark performance, but it is seen that a additional factors are applicable, or the same factors ana
single modern processor can handle, in near real time, the lyzed in different ways, beyond those employed in existing
required processing. Coprocessing systems are available optimizations. Since most call centers are operational for
which increased the processing capability, especially with extended periods of time, by analyzing and optimizing
respect to independent tasks, while allowing all processes to 25 significant cost factors beyond those contemplated by the
be coordinated under a single operating system. For prior art, a more global optimization may be achieved.
example, Microsoft Windows and Linux both support mul                In a service environment, the goal is typically to satisfy
tiprocessing environments, in case increased processing the customer at lowest cost to the company. Often, this
capacity is required.                                             comes through making a reasonable offer of compromise
   On the other hand, if a high level CRM system is 30 quickly, which requires understanding the issues raised by
interrupted to process each call event to globally reoptimize the customer. Delay leads to three costs: the direct and
agent selection, and communicate this with the CTI soft indirect operations cost; the possibility of increased
ware, a significant communication and transaction burden demands by the customer (e.g., impaired business marginal
would be encountered.                                             utility of the communication); and the customer satisfaction
   Thus, the present invention proposes that the skill-based 35 COSt.
call routing algorithm be executed in conjunction with the           In technical Support operations, the agent must understand
low level CTI process, as an integral part of the call routing the technical issues of the product or service. The agent must
function. Likewise, other call-process related algorithms also understand the psychology of the user, who may be
may be implemented, in addition to or instead of a call frustrated, angry, apologetic, or even lonely. The agent must
routing calculation.                                           40 often remotely diagnose the problem, or understand the
   Advantageously, for example in many non-adaptive sys information provided by the caller, and communicate a
tems, no high level CRM system is required, and the entire Solution or resolution.
skill-based routing functionality may be implemented in the          In some instances, these seemingly abstract concepts are
CTI system, saving significant hardware expense and soft represented in relatively in relatively basic terms at the
ware complexity. Thus, where the cost function is relatively 45 communications server level. For example, the cadence of a
simple to calculate, the skills required for the call and the speaker may be available by a simple analysis of a voice
skills of each respective agent well known and relatively channel for silence and word rate. Stress may also repre
constant, a simple database may be provided for the CTI sented in a spectral analysis of Voice or in other known
platform to route calls intelligently.                            manner. Alcoholism or other impairment may be detected by
   Another aspect of the invention provides optimization of 50 word slurring, which may also be detected by certain sig
communications management based on adaptive param nature patterns in the Voice pattern.
eters, e.g., not only on the existing skills of the respective       It is noted that, in Some instances, the skill related
agents, but rather also based on an anticipated or predicted parameters are not independent. That is, there is a high cross
change in the agent's skills as a result of handling the call. correlation or other relationship between the parameters. In
Likewise, when considering an overall cost function for 55 other instances, there are non-linearities in the process. A
optimizing call directing, any variety of factors may be simple Summing of magnitude times weight for these param
considered within its context. Therefore, it an another object eters may introduce errors. Therefore, a more complex
to provide a consolidated cost function for communications algorithm may be employed, without departing from the
management, wherein pertinent factors or parameters are or spirit or scope of the present invention.
may be expressed in common terms, allowing unified con 60 Likewise, for each caller profile class, a different optimi
sideration. According to a preferred embodiment of the Zation may be employed. There are some traits, such as
invention, this is handled at a low level within the commu        alcoholism, which may alter the optimal selection of agent,
nications management system, although various aspects may all other thing being equal.
be handled in real time or otherwise at various levels of the        Therefore, communications routing on seemingly sophis
communications management system.                              65 ticated or abstract concepts may be efficiently handled at a
   In the case of real time communications, such as tradi         low level without interrupting the basic call processing
tional voice telephony, the Switching must by definition functions or requiring non-standard hardware. In this sense,
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“non-standard’ refers to a general purpose type computing            Agents may receive additional compensation for training
platform performing the communications routing functions. activities, either for their training activities, performance
In fact, efficiency is generally enhanced according to the based compensation based on the improvement of their
present invention by avoiding the need for remote commu trainees, or both. Thus, there is an incentive for agents to
nications of the call parameters and the resulting commu become skilled and to assist in the training. As a result, the
nications and processing latencies. Of course, in certain average skill level and uniformity in a call center will
tightly coupled environments, the target resolution may be increase. However, since the optimal skill palette within a
performed on a physically separate processor or system from call center       typically is a moving target, the training process
the low level call processing, without deviating from the 10 willOften, never cease.
                                                                             live interaction is an important component of
essential aspects of embodiments of the invention.                training. Therefore, a significant component of the training
   In many cases, the caller characteristics and issues will encompasses interaction with callers in real-world situa
often have a significant effect on the duration of the call. tions.      Training often involves presenting agents with new
While, in general, more skilled agents will have a higher challenges
productivity, in some cases, the caller restricts throughput. 15 exposure. and experiences in order to assure breadth of
Therefore, even though the agent is capable of completing            According to prior skill-based routing schemes, an agent
the call quickly, the caller may cause inordinate delays.         skill level is considered a static upper limit on capabilities,
According to the present invention, through a number of and the             ACD avoids distributing calls to agents below a
methods, the caller characteristics are determined or pre threshold. Agents may be called upon to serve requests
dicted, and an appropriate agent selected based on the within their acknowledged skill set. Likewise, this allows a
anticipated dynamic of the call. Thus, for example, if the simple and discrete boundary condition to be respected in
anticipated call duration for a Successful outcome, based on the optimization according to the present invention.
the caller characteristics is a minimum of 5 minutes (de             On the other hand, according to some embodiments of the
pending on the agent), then an agent who is likely to present              invention, each call is considered a potential training
complete the call in about 5 minutes may be selected as the 25 exercise, in order to expand the capabilities of the agent, and
optimum; agents who would be able to complete the call therefore the boundary is not concretely applied. Therefore,
within 4 minutes, while technically more productive, may to          the extent that the nature of the call can be determined in
have little impact on the actual call duration, and thus would advance, the incentive according to this scheme is to route
be inefficiently employed. Likewise, an agent anticipated to the call to an agent who is barely capable of handling the
complete the call in 6 minutes might be deemed inefficient, 30 call, and to avoid routing only to the best available agents.
depending on the availability of other agents and additional This strategy has other implications. Because agents are
criteria. The call may be selected as a training exercise. In challenged continually, there is reduced incentive for an
this case, an agent is selected for training whom would be agent to limit his skills to avoid the “tougher assignments.
expected to operate with a certain degree of inefficiency to Further, a self-monitoring scheme may be implemented to
complete the call. In some cases, unsupervised training is 35 determine the status of an agent's skill with each call. For
instituted. In other cases, a training agent (or automated example, agent performance is typically determined on a
system) is allowed to shadow the call, providing assistance,
instruction and/or monitoring of the trainee agent during the call-throughput       basis, since call centers are managed on a
                                                                  man-hour requirement basis and agents compensated on a
call. In this case, it would be anticipated that the cell per-hour basis. Therefore, based on a presumed agent skill
duration would be greater than 5 minutes, due to the training 40 set and an estimation of the skills required for a given call,
nature of the call. Further, the required trainer assistance a call duration may be predicted. The actual duration is then
further reduces immediate efficiency. However, as the agents compared with the predicted duration, providing a perfor
in the pool become more skilled, long term efficiency mance metric for the agent.
increases.
                                                                     This scheme also allows determination of the pertinent
   Preferably, these characteristics are extracted through an 45 factors for call duration, both based on the information about
analysis, by the communications control system, of the the call or caller and the skill set of the agent. Thus, a variety
available data, although where appropriate, reference to of low-level data may be collected about a volume of calls,
higher level systems may be performed. Thus, in an inter which may be statistically or otherwise analyzed to deter
active voice (or key) response system, there may be suffi mine significant relations. For example, an artificial neural
cient time and resources available to query a high level 50 network or fuzzy-neural network may be implemented based
system for data or request analysis relating to a call. How on the data, which may then be automatically analyzed
ever, in many instances, significant analysis may be per based on the independent criteria, e.g., call duration, cost
formed using the computing resources and information function, or the like.
available to the low level communication processing system.          It is noted that, during peak demand periods, reduced
Even when the information is not available, a DNIS or other 55 productivity due to training exercises is preferably mini
type of lookup may provide this information based on a mized. Thus, as demand increases, high skill set agents are
relatively simple query.                                          preferably reassigned from training to most-efficient opera
   More highly skilled agents are both worth more and tional status, while lower skill set agents are assigned to calls
generally command higher compensation. A program which well within their capabilities. Thus, during such peak
trains internally is either required, due to lack of specific 60 demand periods, the stafling requirement will generally be
external training programs, or is cost effective, since new       no worse than traditional call centers. On the other hand,
hires can be compensated at a lower rate than trained and since training is integrated with operations, over a period of
experienced hires. Thus, for long-term operations, there is an time, the average skill of all agents will increase. Thus, more
incentive to train agents internally, rather than seeking to skilled agents will be available at peak periods, reducing
hire trained agents. Therefore, according to another aspect of 65 overall stafling requirements over a long term due to an
the invention, such training, past present and/or future, is expected decrease in average call duration and increase in
monetized and employed in optimization of a cost function. agent productivity.
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   According to this embodiment of the invention, it is less skill set required to address the issues presented. Thus, for
critical to perform the call routing resolution in the low level example, a caller may be prompted to specify information of
system, since the real time criteria is not particularly limited particular relevance in the routing process, while not being
by processing and communication latencies. On the other prompted for information irrelevant to the selection. For
hand, corresponding skill routing functions may be per 5 example, if only one agent is available, the entire prompting
formed by the communications processing system for both process may be bypassed. If two agents are available, their
outbound and inbound communications, thus permitting a profiles may be analyzed, and only the most critical distinc
simplification of the external Supporting systems.                 tions probed. This entire process may be handled in the low
   An embodiment of the present invention provides an level communications processing system, without Substan
Internet Protocol Based communications architecture, per 10 tial loss of efficiency or throughput in that system, and with
mitting geographically dispersed physical communications Substantial gains in overall architectural efficiency.
locations to act as a single coordinated entity. In order to          Often, a highly skilled agent will serve as mentor for the
centrally manage a queue, the various pieces of information trainee, and “shadow” the call. Thus, the routing of a call
must be available for processing. As noted above, an inter may depend on availability of both trainee and skilled
active optimization may require a real time comparison of 15 instructor. This dual-availability checking and pairing may
all available agents. In this architecture, in cases of an ad hoc be performed in the low level system.
organization or peak demand periods, freelance agents may             Another aspect of call center efficiency impacted by this
be called upon dynamically as required. Thus, if a peak scheme is agent motivation. Because an agent with lower
demand period is much shorter than an agent shift, off-site skill levels will be given assignments considered challeng
freelance agents may be dynamically called upon, for ing, while more skilled agents given training assignments
example through the Internet, ISDN, POTS, DSL, Cable which may be considered desirable, there is an incentive for
modem, or a VPN, to handle calls. In this case, the optimal agents to progress, and likewise no incentive to avoid
training of Such off-site or freelance agents will generally progressing. Thus, an agent will have no incentive to inten
differ from those who are in-house agents. For example, if tionally or subliminally perform poorly to avoid future
freelance agents are called upon only during peak demand 25 difficult skill-based assignments. These factors may be
periods, these agents will be trained specifically for the skills accommodated in a cost function calculation, for example
in short Supply during Such periods, or for generic skills with an update of the agent vector after each call based on
which are commonly required.                                       call characteristic vector, call outcome and duration, chro
   In order to gage the skill set required of an agent for a call, nological parameters, and the like.
a number of methods may be employed. Using a menu or 30 In operation, the system works as follows. Prior to call
hierarchal menu, a series of questions may be asked of setup, the nature of the call is predicted or its requirements
callers in the queue to determine the identity of the caller and estimated, as well as the prospective issues to be encoun
the nature of the call. Likewise, ANI/DNIS information, IP         tered. This may be performed in standard manner, for
address or the like, or other communications channel iden          example in an inbound call based on the number dialed,
tifier may be employed to identify the calling telephone 35 based on the ANI/DNIS of the caller (with possible database
communications channel. This information may directly past history lookup), selections made through automated
indicate the characteristics or desired characteristics of the     menus, Voice messages, or other triage techniques. In the
communication, or be used to call an external database             case of outbound calls, a database of past history, demo
record associated with the identity of the caller or commu graphic information (both particular to the callee and for the
nications channel. While it is possible to associate Such as 40 region of the call) and nature of the call may all be used to
database closely with the low level communications pro determine the projected agent skill set required for the call.
cessing system, this is not generally done, since it may Alternately, only parameters available locally to the com
impair the deterministic characteristics of the communica munications control system are employed, which, for
tions processing system. Rather, if Such information is example, may exclude a past history database lookup. Col
required by the low level communications system for reso 45 laborative filtering may be used to assist in inferring a profile
lution, and cannot be stored locally in a data table, it is of a remote user.
preferred that it be available through a closely coupled, but         It is noted that, after initial call setup, the actual skill set
independent system. As discussed above, it is preferred that required may become apparent, and the call may be rerouted
a call entering the queue require no more than a single to another agent. For example, this may be performed at a
database query and receipt of response prior to action, 50 high level, thus permitting correction of errors or inappro
although other non-time critical access may occur both priate selections made by the low level system.
before and after action. The prior art, on the other hand,            Once the predicted skill sets are determined, these are
generally provides such information through independent then compared against a database of available agents and
and generally high level systems. High level systems are their respective skill sets. A weighting is applied based on
generally characterized by general purpose interfaces, broad 55 perceived importance of selection criteria, and the require
range of functionality, and often a communications protocol ments correlated with the available agent skill sets.
having a rich and complex grammar. On the other hand,                 When the call center is operating below peak capacity,
tightly coupled systems can often forgo extensibility and marginally acceptable agents may be selected to receive the
interoperability in favor of efficiency.                           call, possibly with a highly acceptable agent available if
   In many instances, call centers are implemented to pro 60 necessary for transfer or handoff or to monitor the call.
vide Support for computer systems. It is known to provide a When the call center is operating near peak capacity, the
message automatically generated by a computer to identify agents are assigned to minimize the anticipated man-hour
and report the status of the computer at a given time, and burden (throughput) and/or wait time. Thus, peak through
possibly the nature of a computer problem. One aspect of the put operation generally requires that agents operate within
present invention allows this message to be associated with 65 their proven skill sets, and that training be minimized.
a direct semantic communication session with the user, for            Each call is associated with a skill expression that iden
example to predefine the nature of the call and possibly the tifies the skills that are relevant to efficient handling of the
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call. As previously noted, the preferred embodiment is one            the process maintains a table of skill weights with respect to
in which more than one relevant skill is identified, so that all      the call classification, and applies said weights to determine
of the factors that determine a “best agent for handling a an optimum agent selection.
call can be considered. This is expressed, for example, as a 5 Another object of the invention is to provide a commu
call characteristic vector. The relevant skills required may be nications control system for handling real time communi
determined using different techniques.                                cations, wherein an integral system resolves a communica
   The skill expression of a call includes the required skills tions target based on an optimizing algorithm and
and skill levels for efficiently handling the call. In one establishes a communications channel with the resolved
embodiment, the skills may be divided into two categories: 10 communications target.
mandatory and optional skills. Mandatory skills are those                A further object of the invention provides a communica
skills that an agent must possess in order to handle the call, tions method comprising receiving a call, classifying the call
even if the call remains in queue for an extended period of to determine characteristics thereof, receiving a table rep
time. For example, language proficiency is often a manda resenting characteristics of potential targets, determining an
tory skill for handling a call. Optional skills are those that are 15 optimum target based on the characteristics of both the call
considered in the selection of the appropriate agent, but not and the potential targets, and routing the received call to the
critical. In operation, these mandatory skills are expressed as optimum target, the determining step and the routing step
a high relevance rating with respect to a call characteristic being performed by a common platform.
having a non-linear (e.g., binary or sigmoid) characteristic.            A still further object of the invention provides a commu
Therefore, in the absence of exceptional circumstances, nications control software system, comprising a multi
other factors for qualified agents will determine resolution. threaded operating system, providing Support for applica
Alternately, the mandatory skills may be specified as a tions and for passing messages between concurrently
pre-filter, with optional skills and cost function expressed executing applications, a communications control server
through linear-type equations.                                     25 application executing under said multithreaded operating
   It is noted that the peak/non-peak considerations may be system, for controlling real time communications, and at
applied on a call-by-call basis. Thus, certain callers may be least one dynamically linkable application, executing under
privileged to have a shorter anticipated wait and greater said multithreaded operating system, communicating with
efficiency service than others. Thus, these callers may be 30 said communications control server application to receive
treated preferentially, without altering the essential aspects call characteristic data and transmit a resolved communica
of the invention.                                                     tions target.
   The present invention may also generate a set of reports              Another object of the invention provides a method of
directed to management of the call center. Typically, the determining an optimum communications target in real time,
communications server generates a call log, or a statistically 35 comprising receiving a communication having an indeter
processed log, for analysis by a higher level system, and minate target, selecting an optimum target, and establishing
does not generate complete, formatted reports itself. The a channel for the communication with the optimum target,
quality of service reports are generated to indicate the wherein said selecting and establishing steps are performed
effectiveness of the call-management method and system. 40 on a consolidated platform.
An agent Summary report is organized according to the                    It is a further object of the invention to provide a com
activities of particular individuals, i.e. agents. A skill Sum munications processing system for directly establishing and
mary report organizes the data by skill expressions, rather controlling communications channels, receiving information
than by agents. This report may list the number of calls regarding characteristics of a preferred target of a commu
requiring selected skill expressions and the average time 45 nication, comparing the characteristics with a plurality of
spent on those calls. Other known report types are also available targets using an optimizing algorithm, and estab
possible. An important report type is the improvement in call lishing the communication with the target in dependence
center efficiency over time, i.e., decreased wait time, thereon.
increased throughput, increased customer satisfaction, etc. 50 It is another object of the invention to provide a method
Thus, each agent should demonstrate improved skills over of selecting a call handling agent to handle a call, compris
time. Peak throughput should meet or exceed reasonable ing the steps of identifying at least one characteristic of a call
expectations based on a statically skill-routed call center. to be handled; determining a call centerload, and routing the
Other metrics may also be evaluated. Such reports are call to an agent in dependence on the characteristic, call
typically not generated from low level communications 55 center load, and agent characteristics.
systems, and are considered an inventive feature.                        A further object of the invention provides a method
   It is therefore an object of the invention to provide a optimizing an association of a communication with an agent
communications control system comprising an input for in a communications center, comprising the steps of deter
receiving a call classification vector, a table of agent char 60 mining a characteristic of a communication; accessing a skill
acteristic vectors, and a processor, for (a) determining, with profile of a set of agents; cost-optimizing the matching of the
respect to the received call classification, an optimum agent communication with an agent based on the respective skill
selection based on at least a correspondence of said call profile, and routing the call to a selected agent based on said
classification vector and said table of agent characteristic cost-optimization with a common system with said optimiz
vectors, and (b) controlling a call routing of the information 65 ing.
representing said received call in dependence thereon. It is             An object of the invention also includes providing a
a further object of the invention to provide a system wherein method for matching a communication with a communica
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tion handler, comprising the steps of predicting a set of nevertheless relatively slow to service callers. The profile, or
issues to be handled during the communication; accessing a an adjunct database file, may also include a level of pref
profile record for each of a plurality of communications erence that call management has for the agent to handle
handlers; analyzing the profile records with respect to the transactions that require particular skills versus transactions
anticipated issues of the communication to determine a that require other skills, or other extrinsic considerations.
minimal capability; selecting an optimum communication               This table or set of tables is communicated to the com
handler, and controlling the communication, all controlled munications server. Typically, the communications server
within a common process.                                          does not create or modify the agent skills table, with the
   The foregoing has outlined some of the more pertinent 10 possible exception of updating parameters based on imme
objects of the present invention. These objects should be diate performance. For example, parameters such as imme
construed to be merely illustrative of some of the more diate past average call duration, spoken cadence, and other
prominent features and applications of the invention. Many statistical parameters of a call-in-progress or immediately
other beneficial results can be attained by applying the past concluded will be available to the communications
disclosed invention in a different manner or modifying the 15 server. These parameters, which may vary over the course of
invention as will be described. Accordingly, other objects a single shift, may be used to adaptively tune the profile of
and a fuller understanding of the invention may be had by the agent in real time. Typically, however, long term agent
referring to the following Detailed Description of the pre performance is managed at higher levels.
ferred embodiment.                                                   FIG. 1 shows a flow chard of an incoming call routing
                                                                  algorithm according to a preferred embodiment of the
       BRIEF DESCRIPTION OF THE DRAWINGS                          present invention. A call is placed by a caller to a call center
                                                                  301. The call is directed, through the public switched
   For a more complete understanding of the present inven telephone network, although, calls or communications may
tion and the advantages thereof, reference should be made to 25 also be received through other channels, such as the Internet,
the following Detailed Description taken in connection with private branch exchange, intranet VOIP, etc. The source
the accompanying drawings in which:
   FIGS. 1 and 2 are flow charts showing a skill routing address of the call, for example the calling telephone num
method according to the present invention.                        ber, IP address, or other identifier, is received to identify the
                                                               30 caller 302. While the call is in the waiting queue, this
           DETAILED DESCRIPTION OF THE                            identifier is then used to call up an associated database
              PREFERRED EMBODIMENTS                               record 303, providing, for example, a prior history of
                                                                  interaction, a user record, or the like. The call waiting queue
   The Detailed description of the invention is intended to may be managed directly by the telephony server. In this
describe relatively complete embodiments of the invention, 35 case, since the caller is waiting, variable latencies due to
through disclosure of details and reference to the drawings. communications with a separate call management system
The following detailed description sets forth numerous would generally not interfere with call processing, and
specific details to provide a thorough understanding of the therefore may be tolerated. In other instances, an interactive
invention. However, those of ordinary skill in the art will 40 Voice response (IVR) system may be employed to gather
appreciate that the invention may be practiced without these information from the caller during the wait period.
specific details. In other instances, well-known methods,            In some instances, there will be no associated record, or
procedures, protocols, components, and circuits have not in others, the identification may be ambiguous or incorrect.
been completely described in detail so as not to obscure the For example, a call from a PBX wherein an unambiguous
invention. However, many Such elements are described in 45 caller extension is not provided outside the network, a call
the cited references which are incorporated herein by refer from a pay phone, or the like. Therefore, the identity of the
ence, or as are known in the art.                                 caller is then confirmed using voice or promoted DTMF
   For each agent, a profile is created based on manual codes, which may include an account number, transaction
inputs. Such as language proficiency, formal education and identifier, or the like, based on the single or ambiguous
training, position, and the like, as well as automatically, 50 records.
based on actual performance metrics and analysis, and used           During the identity confirmation process, the caller is also
to create a skills inventory table. This process is generally directed to provide certain details relating to the purpose of
performed in a high level system, such as a customer the call. For example, the maybe directed to “press one for
relations management system or human resources manage 55 sales, two for service, three for technical support, four for
ment system. A profile thus represents a synopsis of the returns, and five for other”. Each selected choice, for
skills and characteristics that an agent possesses, although it example, could include a further menu, or an interactive
may not exist in a human readable or human comprehensible Voice response, or an option to record information.
form.                                                                 The call-related information is then coded as a call
   Preferably, the profile includes a number of vectors rep 60 characteristic vector 304. This call characteristic is either
resenting different attributes, which are preferably indepen generated within, or transmitted to, the communications
dent, but need not be. The profile relates to both the level of server system.
ability, i.e. expertise, in each skill vector, as well as the     Each agent has a skill profile vector. This vector is
performance of the agent, which may be a distinct criterion, 65 developed based on various efficiency or productivity cri
with respect to that skill. In other words, an agent may be teria. For example, in a sales position, productivity may be
quite knowledgeable with respect to a product line, but defined as sales Volume or gross profits per call or per call
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minute, customer loyalty of past customers, or other appro than a fully trained agent, the utility of the call will be
priate metrics. In a service call, efficiency may be defined in reduced. Second, call center agent training generally
terms of minutes per call, customer loyalty after the call, requires a trainer be available to monitor and coach the
customer satisfaction during the call. Successful resolution trainee. While the trainer may be an active call center agent,
of the problem, or other metrics. These metrics may be and therefore part of the fixed overhead, there will be a
absolute values, or normalized for the agent population, or marginal cost since the trainer agent might be assuming
both. The skill profile vector is stored in a table, and the other responsibilities instead of training. For example,
profiles, which may be updated dynamically, of available or agents not consumed with inbound call handling may
Soon to be available agents, are accessed from the table 10 engage in outbound call campaigns.
(database) 305.                                                      It is clearly apparent that the communications server
   Typically, the table 305 is provided or updated by a high      system will have direct access to call center load data, both
level call center management system to the communications in terms of availability of agents and queue parameters.
server System as the staffing assignments change, for                Thus, in a training scheme, an optimization is performed,
example once or more per shift. Intra-shift management, 15 using as at least one factor the value of training an agent with
Such as scheduling breaks, may be performed at a low or respect to that call 312, and an appropriate trainee agent
high level.                                                       Selected 313.
   The optimization entails analysis of various information,         In order to provide proper training, the trainer and trainee
which may include the caller characteristics, the call incident must both be available, and the call routed to both 314.
characterization, availability of agents, the agent profile(s), Generally, the trainee has primary responsibility for the call,
and/or various routing principles. According to the present and the trainer has no direct communication with the caller.
invention, the necessary information is made directly avail Therefore, the trainer may join the call after commencement,
able to the communications server, which performs an or leave before closing. However, routing a call which
optimization to determine a “best target, e.g., agent selec 25 requires two agents to be simultaneously available poses
tion, for the caller.                                             Some difficulties. In general, the trainer is an agent capable
   For example, if peak instantaneous efficiency is desired, of handling the entire call alone, while the trainee may not
for example when the call center is near capacity 306, more be. Therefore, the trainer is a more important participant,
advanced optimizations may be bypassed and a traditional 30 and the initial principle in routing the training call is to
skill based call routing algorithm 307 implemented, which ensure that a trainer is available. The trainer may then await
optimizes a short term cost-utility function of the call center availability of an appropriate trainee, or if none is immi
308. An agent who can “optimally' handle the call is then nently available, handle the call himself or herself.
selected 309, and the call routed to that agent 310. The             On the other hand, where a specific training campaign is
global (e.g., call center) factors may be accounted as a 35 in place, and a high utility associated with agent training,
separate set of parameters.                                       then the availability of a specific trainee or class or trainees
   Thus, in order to immediately optimize the call routing, for a call having defined characteristics is particularly
the general principle is to route the call Such that the sum of important. In that case, when an appropriate trainee is
the utility functions of the calls be maximized while the cost 40 available, the call held in that agent’s cue, and the call
of handling those calls be minimized. Other types of opti possibly commenced, awaiting a training agent's availabil
mizations may, of course, be applied.                             ity.
   According to one optional aspect of the invention, the            If the training is highly structured, it is also possible to
various routing principles discussed above explicitly value assign the trainer and trainee agents in pairs, so that the two
training as a utility of handling a call 311, and thus a 45 are always available for calls together.
long-term optimization is implemented 312. The utility of            The system according top the present invention may also
caller satisfaction is also weighted, and thus the agent provide reinforcement for various training. Thus, if a Subset
selected is generally minimally capable of handling the call. of agents receive classroom training on a topic, the server
Thus, while the caller may be somewhat burdened by 50 may target those agents with calls relating to that topic. For
assignment to a trainee agent, the call center utility is example, the topic may represent a parameter of a call
maximized over the long term, and call center agents will characterization vector. In order to target certain agents for
generally increase in skill rapidly.                              calls having particular characteristics, a negative cost may
   In order for the communications server system to be able be applied, thus increasing the probability that the agent will
to include these advanced factors, they must be expressed in 55 be selected, as compared with an agent having a positive
a normalized format. Such as a cost factor.                       cost. By using a single cost function, rather than specific
   As for the cost side of the optimization, the cost of override, the system becomes resilient, since this allocation
running a call center generally is dependent on required shift is not treated as an exception, and therefore other parameters
staffing, since other costs are generally constant. Accord may be simultaneously evaluated. For example, if a caller
ingly, a preferred type of training algorithm serves to mini 60 must communicate in a foreign language, and the agent does
mize sub-locally optimal call routing during peak load not speak that foreign language, then the system would not
periods, and thus would be expected to have no worse cost target the call to that agent, even if other factors weigh in
performance than traditional call centers. However, as the favor of Such targeting.
call center load is reduced, the call routing algorithm routes 65 The same techniques are available for outbound cam
calls to trainee agents with respect to the call characteristics. paigns and/or mixed call centers. In this case, the cost of
This poses two costs. First, since the trainee is less skilled training is more pronounced, since agents idle for inbound
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                               79                                                        80
tasks are generally assigned to outbound tasks, and thus the                        EXAMPLE      2
allocation of trainer agents and trainee agents generally
results in both longer call duration and double the number of    The conditions below are the same as in Example 1,
agents assigned per call. This cost may again be balanced by 5 except two new factors are provided. Ac1 and Ac2. The
avoiding training during peak utility outbound calling hours Preliminary Score is calculated as the sum of the products of
and peak inbound calling hours; however, training opportu the Rule Vector and the Agent Vector. The Final Score is
nities should not be avoided absolutely.                       calculated as (Ac1XSum)+Ac2.
   According to one embodiment of the invention, at the 10 In this case, Ac1 represents an agent-skilled weighting
conclusion of a call, the caller is prompted through an IVR cost function, while Ac2 represents an agent cost function.
to immediately assess the interaction, allowing a Subjective Since we select the maximum value, more expensive agents
scoring of the interaction by the caller without delay. This have correspondingly lower cost values.
information can then be used to update the stored profile 15
parameters for both caller and agent, as well as to provide
feedback to the agent and/or trainer. Under some circum
                                                                                    Agent Agent Agent Agent Agent
stances, this may also allow immediate rectification of an
                                                                                      1       2       3       4       5
unsatisfactory result.
                                                                                                              Ac1

                             EXAMPLE 1.
                                                                                                0.4   0.55    O.45     0.7     O.6
                                                                         Rule                                 Ac2
   Each agent is classified with respect to 10 skills, and each
skill can have a weight of 0 to 127. The skill weights may 25           Vector                  6      3       6.8     2       5.5
be entered manually by a Supervisor, developed adaptively,
or provided by other means. These are sent as a parameter               20%      Skill     1   2O     5        3       5      4
file to the communications server.                                        59     Skill    2     3      3       3       3
   A rule vector specifies a normalized contribution of each 30          10%     Skill    3    10      6       9      10      10
skill to apply to the total. This rule vector, for example,              15%     Skill    4    43     50      33      46      25
represents the call characteristic vector. Thus, attributes of            3%     Skill    5     7      2       9       2       8
the call and the status of the system are analyzed to generate            79%    Skill    6     5      8       5       8       9
this rule vector. There can be more than one rule vector 35             20%      Skill    7     2     3       4        2       2
defined in a project (split), or a rule can be setup in a per call        8%     Skill    8    64     8O      29      45      77
basis. Generally, routing with predefined rules is much more              59     Skill    9     4      5       4       1       2
efficient than routing with rules in a per call bases. When a             79%    Skill    10    9      3       8       3       6
call needs to be routed to an agent, the rule vector is applied 40
to the skills of the available agents and a score is derived for        100%     Prelim        1851   17.33   11.1    13.93   13.65
each agent. The agent with the highest score is assigned the                     Score
call.                                                                            Final         1340   12.53   11.8O   11.75   13.69
                                                                                 Score
                                                                   45

  Rule                 Agent    Agent   Agent    Agent     Agent
 Wector                  1       2         3      4          5           As can be seen, Agent 5 is now optimum.
  20%     Skill    1   20        5         3      5         4
   5%     Skill    2    3        3         3      3         3      50                          EXAMPLE 3
  10%     Skill    3   10        6         9     10        10
  15%     Skill    4   43       50        33     46        25
   3%     Skill    S    7        2         9      2         8            In this example, a limiting criterion is imposed, that is,
   7%     Skill    6    5        8         5      8         9         only agents with a skill score within a bound are eligible for
  20%     Skill    7    2        3         4      2         2
   8%     Skill    8   64       8O        29     45        77      55 selection. While this may be implemented in a number of
   5%
   7%
          Skill
          Skill
                   9
                  10
                        4
                        9
                                 5
                                 3
                                           4
                                           8
                                                  1
                                                  3
                                                            2
                                                            6
                                                                      ways, possibly the simplest is to define the range, which will
                                                                      typically be a lower skill limit only, below which an agent
 100%     Score        1851     17.33     11.1   13.93     13.65
                                                                      is excluded from selection, as a preliminary test for “avail
                                                                   60
                                                                      ability”.
   As shown, Agent 1 would be selected, since this is the
highest score.                                                    As noted below, the screening criteria may be lower,
   In this example, it is presumed that all selections have the upper or range limits. In this case, the Screening process
same cost, and therefore the utility only varies. Thus, the 65 excludes agents 2, 3, and 5, leaving agents 1 and 4 available.
agent with the highest utility function is the optimal selec Of these two choices, agent 1 has the higher score and would
tion.                                                           be targeted.
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                                                   Agent           Agent         Agent         Agent          Agent
                                                        1           2             3              4              5
                                                                                 Ac1

    Rule Vector                                     0.4            0.55          O.45           O.7            O.6

        Min     Max     Exclude                                                  Ac2

        Skill   Skill   Agent                        6              3             6.8            2             5.5

 20%     0%.    25%               Skill     1      20               5             3             5
  59%                             Skill     2       3                                           3.             3
 10%                              Skill     3      10               6             9            1O             10
 15% 40% 100%.           3, 5     Skill     4      43              50            33            46             25
  3%                              Skill     5                                     9             2              8
  79%                             Skill     6       5                             5             8
 20%                              Skill     7                                     4             2              2
  8% 30%        75%. 2, 3, 5      Skill      8     64              8O            29            45             77
  59%                             Skill      9      4                             4             1
  79%                             Skill     10      9                             8             3.             6

                        2, 3, 5 excluded
                          1.4 available
100%                              Prelim           1851            17.33         11.1          13.93          13.65
                                  Score
                                   Final           1340            12.53         11.8O         11.75          13.69
                                  Score




                      EXAMPLE 4                                                                      caller is represented by a different call vector, and each agent
  In this example, the optimization seeks to optimize the                                            by a distinct skill vector. The optimization therefore seeks
placement of 5 incoming calls to 5 agents. As shown, each                                            the maximum utility from the respective possible pairings.


                                                            Rule        Rule          Rule           Rule           Rule
                                                        Vector          Vector        Vector         Vector        Vector            Agent    Agent      Agent   Agent   Agent
                                           SKILL             1            2             3              4             5                 1          2        3      4       5


                                             1              20%          25%            1796          20%            14%             2O        5          3       5       4
                                             2               59%         10%             59%           59             3%              3        3          3       3       3
                                             3              10%          15%            20%           10%             8%             10           6       9      10      10
                                             4              15%          10%             59%           59             59             43       50         33      46      25
                                             5               3%            O%            59%           8%             196             7        2          9       2       8
                                             6               79%         10%            13%           10%             79%             5           8       5       8       9
                                             7              20%          10%             59%          10%            20%              2        3          4       2       2
                                             8               8%            4%            8%            4%             8%             64       8O         29      45      77
                                             9               59%           8%           13%           18%            23%              4        5          4       1       2
                                            10               79%           8%            9%           10%            11%              9        3          8       3       6


                                                            100%        100%          100%           100%          100%     Rule 1   18.51    17.33      11.1    13.93   13.65
                                                                                                                            Rule 2   15.4     12.39       8.72   10.77   10.12
                                                                                                                            Rule 3   15.25    13.31       8.97   10.54   12.71
                                                                                                                            Rule 4   12.74        9.91    7.6     7.89    8.98
                                                                                                                            Rule 5   13.69    12.83       8.24    9.03   11.09
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                                                            Combinatorial analysis of agents vs. callers
 58.85    S9.52    S8.77 S9.58    60.68     S8.79   S8.04 S8.85        60.28      S7.72   S8.12    S8.93    60.42    S7.86     S9.01   60.15    S9.26 S6.7        59.96   S8.18
 57.88    58.55    58.88 60.66    59.71     57.82   58.15 59.93        59.31      56.75   55.41    57.19    60.53    57.97     56.3    57.33    60.34 57.78       57.25   55.36
 60.13    61.28    S9.2S 60.06    61.96     61.33   S9.3 60.11         62.04      60.26   S8.9     59.71    60.9     59.12     S9.79   60.93    59.74 S7.96       S8.63   S8.96
 60.24    49.54    S6.54 58.32    62.07     58.99   S6.96 S8.74        59.33      S7.92   S6.56    S8.34    58.19    S6.78     S74S    58.48    S8    56.59       57.26   56.51
 58.66    59.81    60.14 62.42    60.49     S9.86   60.19 62.47        60.57      S8.79   S7.4S    59.73    61.79    60.01     S8.34   58.59    62.1 60.32        S8.6S   56.62
 59.74    58.07    57.32 S9.6     61.57     58.49   S7.74 60.02        58.83      S742    S7.82    60.1     S8.97    S7.56     S8.71   58.96    S9.28 S7.87       S9.02   S6.99



   Using a combinatorial analysis, the maximum value is since we select the largest value as the optimum. Likewise,
62.42, which represents the selection of agent 1/caller 1: time factors are also reciprocal, since we seek to minimize
agent 2/caller 5; agent 3/caller 4, agent 4, caller 2; and agent 15 the time spent per call. In this case, the cost analysis employs
5, caller 3.                                                        three additional parameters; the agent cost, a value repre
                        EXAMPLE 5                                   senting the cost of the agent per unit time; a value repre
                                                                    senting an anticipated duration of the call based on the
   Similarly to Example 4, it is also possible to include an characteristics of the caller, and a value representing the
agent cost analysis, to provide an optimum cost-utility 2O anticipated duration of the call based on characteristics of
function. As in Example 2, the cost factors are reciprocal, the agent


                                                                                                        Agent             Agent             Agent           Agent          Agent
                                                                                                             1                 2                3                4              5
                  Rule        Rule             Rule           Rule                Rule                                                  Agent Cost

             Vector 1       Vector 2         Vector 3       Vector 4           Vector 5                    O.S9               O.68              1               O.86           0.79
                                       Caller time factor                                                                            Agent time factor

   SKILL           3             3.5           2.75               4                10                       1.3               1.3               1               1.1            1.2

      1           20%          25%             1796           20%                 14%                  2O                5                3                 5              4
      2            59%         10%              59             59                  3%                   3                3                3                 3              3
      3           10%          15%             20%            10%                  8%                  10                6                9                10             10
      4           15%          10%              59             59                  59                  43               50               33                46             25
      5            3%           O%              59             8%                  196                  7                2                9                 2              8
      6            79%         10%             13%            10%                  79%                  5                8                5                 8              9
      7           20%          10%              59            10%                 20%                   2                3                4                 2              2
      8            8%           4%              8%             4%                  8%                  64               8O               29                45             77
      9            59%          8%             13%            18%                 23%                   4                5                4                 1              2
     10            79%          8%              9%            10%                 11%                   9                3                8                 3              6

                  100%        100%            100%           100%               100%        Rule 1     72.189           58.80069         19.647            31.71861       36.855
                                                                                            Rule 2     70.07            49.045815        18.0068           28.61OSOS      31.878
                                                                                            Rule 3     S4S1875          41.397.427S      14.SS382S         21.99961S      31.45725
                                                                                            Rule 4     66.248           4483284          17.936            23.9S4O4       32.328
                                                                                            Rule S    177.97           145.1073          48.616            68.5377        99.81




                                                                                          Combinatorial Analysis
                         259.SS27      255.3573       256.8383        289.63.07     267.1886      254.878S        256.3595      289.1519       255.0903     246.9756      247.4.191
                         236.6543      232.4589       235.0236        290.7144      244.29O2      231.98O1        234,5448      290.2356       232.1919     224.0773      219.4143
                         260.9804.     259.9429       259.9962        292.7886      268.6163      260.932         260.9853      293.7777       259.6759     253.0292      248.887
                         239.1658      163.4004       231.9914        287.6822      246.8016.     234.7961        234.8494      29O.S4O2       231.6711     226.8933      222.7S11
                         224.1784      223.1409       225.70S6        295.3OO1      231.8143      224.13          226.6947      296.2892       222.8739     216.2272      211.5642
                         225.2621      218.0345       219.51 SS       289.1099      232.898       220.892S        222.373S      291.9679       217.767S     212.9896      2.13.4331

                                                      280.2116        264.86S1      2S6.7SO4.     255.7129        291.0701      3.09.1051      300.9904     3674349       302.5176
                                                      275.1051        243.OSO4      234.9358      227.7081        284.8799      310.1888       302.0741.    339.4301.     296.3275
                                                      281.679S        268.023       261.3763      257.1808.       292.538       312.263        305.6163     301.42O8      3O3.98SS
                                                      278.4419        240.0182      235.24O3      231.0449        288.2167      307.1566       302.3787     298.1833      299.6643
                                                      281.1587        233.7324      227.0857      219.858         289. SOSf     314.7744       3O8.1277     300.9         300.9533
                                                      283.0276        227.5423      222.7644      221.7269        291.3746      3O8.5843       3O3.8064.    302.7689      302.8222
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                             85                                                                  86
  As can be seen, the maximum value is 314.78, which                  (a) receiving a plurality of communications, each having
corresponds to a selection of Agent 1/CallS: Agent 2/Call 1:            associated classification information;
Agent 3/Call 4: Agent 4/Call 2; and Agent 5/Call 3. There             (b) storing information representing characteristics of a
fore, it is seen that the optimum agent/caller selection is              plurality of potential targets;
sensitive to these cost factors.                                      (c) determining an optimum target for each communica
   It is also seen that, while the analysis can become quite             tion based on the communication classification and
complex, the formulae may be limited to evaluation of                    target characteristics using a multivariate cost function
simple arithmetic functions, principally addition and multi              comparing at least three potential targets; and
plication, with few divisions required. Thus, these calcula           (d) routing the communication to the optimum target,
tions may be executed efficiently in a general purpose 10 said determining step and said routing step being per
computing environment.                                                   formed within a common operating environment.
   From the above description and drawings, it will be                11. The method according to claim 10, wherein the
understood by those of ordinary skill in the art that the determination and routing employ a common message queue
particular embodiments shown and described are for pur in an operating system.
poses of illustration only and are not intended to limit the 15 12. The method according to claim 10, wherein a data
scope of the invention. Those of ordinary skill in the art will structure representing skill weights with respect to the
recognize that the invention may be embodied in other communication classification is applied to determine an
specific forms without departing from its spirit or essential optimum agent selection.
characteristics. References to details of particular embodi           13. The method according to claim 10, further comprising
ments are not intended to limit the scope of the claims.           the  step of perturbing the determining step to provide
   It should be appreciated by those skilled in the art that the
specific embodiments disclosed above may be readily uti discrimination in routing.
lized as a basis for modifying or designing other structures          14. The method according to claim 10, wherein said
for carrying out the same purposes of the present invention. determining step comprises providing a cost function for
It should also be realized by those skilled in the art that such each target, and optimizing a cost benefit of a routing.
equivalent constructions do not depart from the spirit and 25 15. The method according to claim 10, wherein the
Scope of the invention as set forth in the appended claims. determining comprises performing a cost-benefit analysis.
   What is claimed is:                                                16. The method according to claim 10, wherein the
   1. A communications control system, having a common determining of an optimum target is sensitive to a training
operating environment, comprising:                                 benefit of a target.
   (a) an input for receiving call classification information; 30 17. A communications control software system, compris
   (b) a data structure representing agent characteristics; and ing:
   (c) a processor, for (a) determining, with respect to the          (a) a multithreaded operating System, providing Support
      received call classification information, an optimum               for applications and for passing messages between
      agent for association with a call corresponding to call            concurrently executing applications;
      classification information, based on a multivariate cost 35 (b) a communications control server application execut
      function comparing at least three agents, the selection            ing under said multithreaded operating system, for
      being based on at least a correspondence of said call              controlling real time communications; and
      classification and said data structure of agent charac          (c) at least one dynamically linkable application, execut
      teristics, and (b) controlling a call routing of the call in       ing under said multithreaded operating system, com
      dependence on the determination, said determining and              municating with said communications control server
      routing functions of said processor being performed 40             application to receive call characteristic data and trans
      within the common operating environment.                           mit a resolved communications target.
   2. The system according to claim 1, wherein the processor          18. The system according to claim 17, wherein said at
comprises a plurality of central processor units (CPUs).
   3. The system according to claim 1, wherein the common least           one dynamically linkable application performs an
                                                                   optimization   according to a multivariate cost function.
operating environment comprises consolidated operating 45 19. A method                of remediating discrimination, comprising:
system.
   4. The system according to claim 1, wherein the deter              (a) measuring a set of performance metrics for a popula
mination and control by the processor employ a common                    tion;
message queue within a common operating system.                       (b) comparing performance metrics of Subgroups of the
   5. The system according to claim 1, wherein said process 50           population, each Subgroup being defined with respect
                                                                         to a suspected discriminatory classification;
maintains a data structure representing skill weights with            (c) defining a remediation mode wherein a member of a
respect to said call classification information, and applies             Subgroup having an inferior performance metric is
said weights to determine an optimum agent selection.                    presented with an opportunity to apply skills associated
   6. The system according to claim 1, wherein said optimi               with the inferior performance metric under circum
zation may be extrinsically perturbed to provide discrimi 55             stances wherein improvement in the inferior perfor
nation in control of call routing.                                       mance metric is anticipated;
   7. The system according to claim 1, wherein a cost                 (d) defining a cost-benefit of the remediation mode suf
function is provided for each agent, said processor optimiz              ficient to offset the inferior performance metric as
ing a cost benefit of a routing.                                         compared to another population Subgroup in a cost
   8. The system according to claim 1, wherein a plurality of 60         benefit analysis; and
call classification vectors are received, said processor deter        (e) allocating opportunities using a cost benefit optimiza
mining, with respect to the received plurality of call classi            tion to members of the population.
fication vectors, an optimum set of agents and associated call        20. The method according to claim 19, wherein the cost
classification vectors.                                            benefit analysis comprises analysis of a multivariate cost
   9. The system according to claim 1, wherein the optimi 65 function.
Zation comprises performing a cost-benefit analysis.
   10. A communications method comprising:
